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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

x
MICHAEL DARDASHTIAN, individually and
on behalf of COOPER SQUARE, LLC a/k/a
COOPER SQUARE VENTURES,
LLC, NDAP, LLC and CHANNELREPLY, 1:17 Civ.4327 ( LLS)
Plaintiffs,
-against- PLAINTIFFS’ FIRST
AMENDED VERIFIED
DAVID GITMAN, ACCEL COMMERCE, LLC COMPLAINT

ROCK HOLDINGS, LLC, ACCEL COMMERCE,
LLC, DALVA VENTURES, LLC, KONSTANTYN
BAGAIEV, OLESKSII GLUKHAREV and
CHANNEL REPLY, INC.,

Defendants.
Xx

 

DAVID GITMAN, individually, and on behalf of
COOPER SQUARE VENTURES, LLC, and
NDAP, LLC,
Counterclaim Plaintiffs,
-against-

MICHAEL DARDASHTIAN,

Counterclaim Defendant.

 

~-- x
Plaintiffs, Michael Dardashtian (“Dardashtian” and residing at 13 Polofield Lane, Great
Neck, New York), individually and on behalf of Cooper Square, LLC a/k/a Cooper Square
Ventures, LLC (collectively referred to herein as “Cooper Square Ventures” or “CSV” and
having a principal place of business located 13 Polofield Lane, Great Neck, New York), NDAP,

LLC, (““NDAP”) a wholly owned subsidiary of CSV and Channel Reply (‘““ChannelReply”), a
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wholly owned subsidiary of CSV, as and for their First Amended Verified Complaint against the

Defendants hereby state as follows:
PARTIES

1. Cooper Square Ventures was founded in 2011, is a software technology limited
liability company specializing in e-commerce (with an emphasis on large catalogs), software as a
service, software creation and innovation and technology consulting services.

2. Pursuant to CSV’s operating agreement (“CSV Operating Agreement”), Plaintiff
Dardashtian and Defendant David Gitman (“Gitman” or “Mr. Gitman”’) are the sole members of
CSV, each owning an equal 50% membership interest and profit percentage of CSV, and both
served as co-managers responsible for its daily operations. '! Mr. Gitman was later removed as a
co-manager by the Court as described infra.

3. To date, CSV has generated in excess of $10 million dollars of revenue and owns
and operates multiple subsidiary companies specializing in different technology-related services.

4. ChannelReply is an online product owned by CSV and is a software service
Solution falling under software as a service or “SaaS” created and owned by CSV to facilitate the
messaging of eBay and Amazon store owners’ respective communications to their customers and
potential customers throughout the United States of America and worldwide.

5. For instance, nationally known prominent companies pay a monthly subscription
fee to ChannelReply in order to connect their eBay and Amazon store messages with its

customers to allow a free-flowing communication between them and the customers.

 

‘ The CSV Operating Agreement was inadvertently entitled “Operating Agreement of Cooper Square, LLC” by virtue
of a scrivener’s error by CSV’s attorney Jeffrey Rothman, Esq., which failed to include the word “Ventures.” See
Affidavit of Jeffrey Rothman dated June 21, 2017, previously filed in further support of Plaintiffs’ Order to Show
Cause for Preliminary Injunctive Relief on June 21, 2017.
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by freelance subcontractors of CSV as a work for hire and such confidential software is owned
by and exclusively the proprietary and intellectual property of CSV and ChannelReply.

7. The Plaintiff ChannelReply has current revenue exceeding $30,000 per month and
has more than 200 customers worldwide.

8. NDAP is also a wholly owned subsidiary of CSV engaged in the online sale
of automobile parts to customers throughout the United States of America and worldwide.

9. CSV has since sold NDAPs assets and business to a purchaser identified
herein as XYX Corp’. an entity located in another state.

10. Jeremy Falk is a principal and member of Defendant Summit Rock
Holdings, LLC (“Summit Rock”) who served as a broker and consultant for CSV and NDAP as
to the sale to XYZ Corp., pursuant to a March 3, 2017 Services Agreement..

11. | Accel Commerce, LLC (“Accel Commerce”) is a Delaware company engaging in
business activities in the State of New York within the jurisdiction of this Court. Accel
Commerce is an e-commerce company, which was unbeknownst to Plaintiff Dardashtian at the
time, formed by Defendant Gitman with others to compete with Plaintiff CSV and Plaintiff
ChannelReply in the electronic commerce industry.

12. Accel Commerce was formed in March, 2017, without the knowledge or
authorization of Plaintiff Dardashtian, and has been using Plaintiff CSV and Plaintiff
ChannelReply’s assets, such as personnel, funds, and proprietary information to compete against
Plaintiff CSV and Plaintiff ChannelReply in the e-commerce industry.

13. Defendant Channel Reply, Inc. (which is a separate and distinct entity than

 

* XYZ Corp. is herein used as there may be a confidentiality agreement as to this potential sale which may include
the identity of the purchaser.
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Plaintiff “ChannelReply’’) is an entity formed by Defendant Gitman, without the knowledge or
authorization of Plaintiff Dardashtian, which also engages in electronic commerce. To
distinguish between the two, the Plaintiff ChannelReply owned by CSV will be referred as
“ChannelReply” and Defendant Channel Reply, Inc., which was formed by Gitman to compete
against Plaintiff ChannelReply in the ecommerce industry, will be referred to as Defendant
“Channel Reply, Inc.”

14. Defendant Channel Reply, Inc. is unlawfully utilizing the assets of Plaintiffs CSV
and Plaintiff ChannelReply, such as personnel, monetary funds, confidential and proprietary
information, intellectual property, tradename, and their trade secrets to unfairly compete against
Plaintiffs CSV and Plaintiff ChannelReply.

15. As Plaintiff Dardashtian is a 50% member of Plaintiff CSV, Plaintiff
ChannelReply and Plaintiff NDAP, and therefore without the ability to authorize Plaintiff CSV,
Plaintiff ChannelReply, and Plaintiff NDAP respectively, to file suit, Plaintiff Dardashtian brings
such action on behalf of himself, individually, and on behalf of Plaintiff CSV, Plaintiff
ChannelReply and Plaintiff NDAP for damages suffered by such entities as a result of
Defendants’ actions.

16.  Konstantyn Bagaiev (“Bagaiev”) and Olesksii Glukharev (“Glukharev”) (Bagaiev
and Glukharev are collectively referred to herein as the “Plaintiff Companies’ developers”) are
independent contractors retained by CSV and Plaintiff ChannelReply to serve as software
developers for CSV and the ChannelReply software programs which they helped develop as the
exclusive proprietary property and trade secrets of Plaintiff CSV and Plaintiff ChannelReply.
Bagaiev and Glukharev were solicited and otherwise induced by Defendant Gitman to participate

in various unlawful acts as alleged herein.
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17. Upon information and belief, Defendant Gitman unlawfully solicited and induced
Bagaiev and Glukharev to resign from the Plaintiff Companies and to join Defendant Gitman to
work for him and Defendarit Channel Reply, Inc.

18. As aresult of Defendant Gitman’s unlawful competition and solicitation of
Bagaiev and Glukharev, Bagaiev and Glukharev terminated their employment with the Plaintiff
Companies, further causing the Plaintiff Companies’ damages.

JURISDICTION AND VENUE

19. This action arises under the Defend Trade Secrets Act of 2016, 18 U.S.C. $1836,
as amended, and New York law. This Court has jurisdiction pursuant to 28 USC §1331 over
Plaintiffs’ federal-based claims (18 USC 1030 and 15 USC 1125).

20. This Court has supplemental jurisdiction pursuant to 28 USC §1367 over
Plaintiff's State-based claims.

21. Venue is proper in this Court pursuant to 28 USC §1391(b) as all parties reside
within this jurisdiction of this Court or regularly conduct business within this Court’s
jurisdiction.

22. Additionally, CSV’s operating agreement provides a choice of forum and venue
selection clause in favor of this Court for any disputes arising out of CSV’s operations.

FACTS COMMON TO ALL COUNTS
FALK AND SUMMIT ROCK’S “CONSULTING FEE”

23. In mid-May, 2017 Dardashtian raised concerns and objections about Falk’s and
Summit Rock’s compensation under the Summit Rock-CSV Services Agreement dated March 3,
2017 regarding the sale of NDAP, LLC to XYZ Corp. (“Summit Rock Service Agreement”) as

both, Falk and Gitman were pressuring him to agree to pay Falk, who Dardashtian later learned
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to be Gitman’s secret business partner in Accel Commerce, a competing business, a greater
“consultant” fee.

24. The Summit Rock Service Agreement provided that Summit Rock, Falk’s
company, would be paid $110,000.00 plus .0025% of the eventual purchase price of the sale of
NDAP, LLC.

25. Once the purchase price, however, was determined a few days after the execution
of the Summit Rock Services Agreement it became clear to Dardashtian that the purchase price
would not satisfy the a) outstanding debt of NDAP, LLC, b) other outstanding financial
obligations; c) closing costs; and d) would not yield an acceptable profit to Dardashtian.

26. Thereafter on March 15, 2017, Falk and Summit Rock agreed to lower their fee to
$80,000.00 in total which was acceptable to Dardashtian. The reduction of Falk and Summit
Rock’s fee was as a sole result of Dardashtian’s negotiation of such fee on behalf of NDAP.

27, However, on or about May 17, 2017, before the closing of the NDAP, LLC-XYZ
Corp. transaction, and before the final necessary closing documents were signed and approved
by Dardashtian, Gitman demanded that Falk receive $100,000.00 as a fee rather than the agreed
upon $80,000.00.

28.  Gitman also demanded that Gitman receive a greater portion of the profits of such
sale than Dardashtian. Specifically, Gitman demanded a 70-30 split of the profits in his favor
despite the CSV operating agreement requiring Dardashtian and Gitman to split profits 50-50.

29. At all times relevant herein, Gitman’s actions were contrary to the best interests of
the Plaintiff Companies, of which he is a 50% member, a breach of his fiduciary obligations to

Dardashtian, and a direct material breach of the CSV Operating Agreement.
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DEFENDANTS’ RESPECTIVE MISAPPROPRIATION AND CONVERSION OF CSV’S
ASSETS

30. As of April 30, 2017, CSV’s Bank of America bank account had an account
balance of $73,982.53. Plaintiff's Aff. Exhibit 59. Gitman and Dardashtian had agreed in
January, 2006 that such banking account would be used to fund the operations of Plaintiff
ChannelReply, NDAP and other operations.

31. On the morning of Saturday May 27, 2017, at the start of Memorial Day long-
holiday weekend and knowing the bank would not be open again until that following Tuesday,
and with no notice whatsoever to Dardashtian, Gitman depleted CSV’s bank account, which
funds several of CSV’s subsidiary companies, including Plaintiff ChannelReply.

32. The timing of Gitman’s unlawful draining and siphoning of CSV’s bank account
coincides with Dardashtian’s refusal to agree to 1) pay Falk a greater consultant fee for the
NDAP sale to XYZ Corp. and 2) a 70-30 split with Gitman of the profits of such sale. Gitman in
fact unlawfully threatened to transfer CSV’s cash balances to a separate account maintained
exclusively by Gitman.

33. Dardashtian received a mobile notification that all available cash in CSV’s
account had been withdrawn. CSV’s online account information, as viewed on Dardashtian’s
mobile device, showed two cashed checks: $50,000 and $23,982.53 bringing the account balance

down to under $25.00. Plaintiff's Aff. Exhibit 59 and Exhibit 60.

 

34. Dardashtian immediately called the bank and was told that Gitman had withdrawn
all of the money.

35. On May 27, 2017, at around 4:30pm Dardashtian received an email from Gitman
admitting that he withdrew all of the funds from the CSV Bank of America account and that, he,

unilaterally, will be making decisions on behalf of CSV despite the requirement under the CSV
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operating agreement requiring a 50-50 management of CSV. Gitman also essentially threatened
Dardashtian to sign a purchase agreement for the NDAP, LLC sale to XYZ Corp., which is being
“brokered” by Falk and Summit Rock.

36. By 2:11 pm on Sunday May 28, 2017, CSV’s account balance was overdrawn by
negative $10.89. CSV’s bank account not only collects revenue in the form of monthly service
fees from customers, but it also funds the operation of the ChannelReply service.

37. On 8:01 pm on Monday May 29, 2017, the CSV bank account was overdrawn by
$229.40 due to preexisting auto debits to pay for services essential to operate ChannelReply.
Plaintiff Aff. Exhibit 67.

38. On May 31, 2017, Gitman unilaterally began increasing CSV’s debt
by using CSV’s depleted bank account and credit card. Gitman paid an invoice to a Plaintiff
Channel Reply worker from CSV's overdrawn bank account for $218.51 further driving the
account into overdrawn status. The accompanying invoice indicates the charge comes from
Gitman and lists his personal home address in Brooklyn, New York.

39. On June 2, 2017, Gitman charged $3,500 to amazon web services
using NDAP's American Express credit card, thereby driving up CSV's debt to over $7,000.00 in
addition to his emptying its bank account.

40. Such actions by Gitman have frustrated and prevented Dardashtian
from paying the jointly-held business credit card in each of Gitman’s and Dardashtian’s names.
As Gitman then locked Dardashtian out of CSV’s amazon web services account by changing the
password, Dardashtian could not even see what the charge is or the purpose of it.

41. Auto-debits have been prescheduled to pay for Plaintiff ChannelReply’s servers,

employees and other digital portals that help service CSV and Plaintiff ChannelReply.
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42. There was no money in CSV’s account due to Defendant Gitman’s actions, and
thus, CSV’s contractual obligations were not being paid and the account continued to be
overdrawn. Mobile screenshot of the overdrawn account is annexed to Plaintiff's Aff. Exhibit
“65.”

43.  Gitman’s actions threatened the complete shut-down of Plaintiff ChannelReply,
which is presently servicing subscriptions held by more than two hundred worldwide customers.
These business relationships took years to build and are not only a source of monthly revenue but
are invaluable assets to CSV and Dardashtian, as a businessman, 50% owner and co-manager of
CSV. The loss of these customers would cause irreparable harm to Dardashtian, Plaintiff
ChannelReply, CSV and its other businesses.

44. Defendant Gitman’s actions also caused CSV and Plaintiff ChannelReply’s third-
party customers to lose or damage relationships with their own customers, and caused harm to
their customer service capabilities in that Dardashtian cannot help them with customer issues.
Gitman redirected customer support emails to himself, with no experience with customer service
and has not indicated whether he is providing any.

45. Thereafter, Dardashtian received notice from Bagaiev and Glukharev that they
were both resigning from the Plaintiff Companies, placing the Plaintiff Companies and Plaintiff
ChannelReply in further jeopardy.

46. On or about June 20, 2017, Plaintiff Dardashtian received letters from Bagaiev
and Glukharev stating their intention to resign from the Plaintiff Companies. The letters
presented by Bagaiev and Glukharev were suspiciously identical with the exception of their
names, the letters, upon information and belief, were drafted by or on behalf of Defendant

Gitman.
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47. Such actions by Defendant Gitman in inducing the Plaintiff Companies’
developers to resign from Plaintiff Companies, was to effectuate Defendant Gitman’s goal of
damaging the Plaintiff Companies upon his removal as manager by virtue of the Court’s June 19,
2017 order and attempting to undermine the Plaintiff Companies’ ability to conduct business
operations.

48. Dardashtian was required to immediately find and replace Bagaiev and Glukharev
with another company at additional cost and expense, just to keep Plaintiff ChannelReply afloat

and preserve CSV’s business relationships with its customers.

GITMAN’S UNLAWFUL FORMATION OF COMPETING BUSINESSES- ACCEL
COMMERCE AND DEFENDANT CHANNEL REPLY, INC.

Accel Commerce

49. Dardashtian and Gitman are the sole members of CSV, each owning an equal
50% membership interest of CSV and both serve as co-managers responsible for its daily
operations.

50.  CSV’s operating agreement does provide for either of its members, Dardashtian
or Gitman, to form and operate a competing business to that of CSV. However, Article 12 of the
CSV operating agreement prohibits either member to use CSV’s confidential and proprietary
information such as financial information/data, business plans, marketing or sales plans, trade
secrets, computer programs, processes, data, designs, compilations, policies, procedures, sales
know how or anything that is considered to be proprietary to CSV (“CSV’s Confidential
Information”) for their own use or that of any competing business opportunity. Plaintiff's Aff.

Exhibit 1, Article 12.

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51. However, Dardashtian in late April 2017, learned that Gitman formed Defendant
Accel Commerce with Falk. Upon information and belief, Accel Commerce is a competitor of
CSV and Plaintiff ChannelReply in the e-commerce industry.

52. Specifically, Dardashtian logged into CSV’s “Upwork” account, owned by CSV,
which takes screen shots of employees while they do computer work for CSV on CSV
computers, to track their work product and time worked.

53. Dardashtian saw screenshots, of the bookkeeper Gitman had hired, Mary Faith
Anden (“Anden”), working on the books of Accel Commerce. Dardashtian also saw statements
reflecting bank accounts in the name of Jeremy Falk and Defendant Gitman, and correspondence
between Anden and Defendant Gitman discussing Gitman’s business partnership with Falk.
Gitman further shared ChannelReply’s confidential and proprietary information with Falk
without Dardashtian’s consent.

54. Dardashtian also was surprised that Gitman and Falk were using CSV’s Upwork
account in relation to the affairs of their new side business, Accel Commerce. Dardashtian
learned that Accel Commerce was formed in March 20, 2017, which is prior to the purchase
price being determined and buyer located for what would be the NDAP sale to XYZ Corp.

55. In other words, Gitman secretly formed a competing business to CSV before Falk
“brokered” the purchase price between NDAP and XYZ Corp. and while Gitman was insisting
that Falk receive a greater broker fee for the transaction.

56. The fact that Gitman had formed a competing business unbeknownst to
Dardashtian, and was using CSV resources, proprietary information, trade secrets, and assets as
part of its operation is another reason Dardashtian refused to execute the necessary documents to

close the NDAP sale to XYZ Corp.

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Defendant Channel Reply, Inc.

57. On Monday May 29, 2017, Defendant Gitman unilaterally canceled Dardashtian’s
participation in a pre-scheduled weekly conference call with international employees operating
Plaintiff ChannelReply. He removed the event from Dardashtian’s calendar so that he could not
join the Skype call and get any information, updates or ask any questions about Plaintiff
ChannelReply’s business. See Plaintiff Aff. Exhibit 66a.

58. On Monday May 29, 2017, after blocking Dardashtian’s access to the CSV and
Plaintiff ChannelReply company conference call with employees, Defendant Gitman spoke with
Defendant Bagaiev, Plaintiff ChannelReply’s lead software developer, indicating Gitman’s intent
to fly to Russia/Ukraine to meet with Bagaiev. Plaintiff's Aff. Exhibit “66b.”

59. On Tuesday May 30, 2017 at approximately 5:08 p.m., Defendant Gitman again
stated to Bagaiev his intent to fly to Russia/Ukraine immediately to meet privately with him and
Plaintiff ChannelReply’s other developer, Oleskii Glukharev, to discuss CSV’s and Plaintiff
ChannelReply’s respective operations, without Dardashtian being present. Plaintiff Aff. Exhibit
“71.”

60. On the very same day that Defendant Gitman conveyed his intentions to meet
with Plaintiff ChannelReply’s developers in Russia/Ukraine, on May 30, 2017, Defendant
Gitman formed and registered Defendant Channel Reply, Inc. with the Secretary of State in
Delaware.

61. Defendant Gitman’s clear purpose of forming Defendant Channel Reply, Inc. was
to transfer all of CSV and Plaintiff ChannelReply’s assets into a new company for Defendant

Gitman’s own use, thereby stealing Plaintiff ChannelReply and converting all of its assets, trade

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secrets, intellectual and proprietary property, tradename, software, code and employees, while,
simultaneously, locking Dardashtian out of CSV and Plaintiff ChannelReply so that Dardashtian
had no access to any resources to try to prevent it or defend himself, to CSV and Plaintiff
ChannelReply’s customers and employees.

62. On June 1, 2017, it was revealed that Defendant Gitman sent Bagaiev and
Glukharev new agreements for them to become owners and/or employees of his newly formed
company "[Defendant] Channel Reply, Inc."

63. Plaintiff sent these agreements relating to Defendant Channel Reply
Inc. using the email David@dalva.ventures. Upon closer examination, it appears Defendant
Gitman formed Dalva Ventures in February of 2017, indicating that his unlawful intentions
commenced at least back in February, 2017 to steal and convert Plaintiff ChannelReply to his
own use and for his own benefit. Dalva Ventures is believed to be another entity formed by
Defendant Gitman to compete directly or indirectly with Plaintiff ChannelReply and CSV in the
e-commerce industry.

64. On June 1, 2017, Defendant Gitman offered Plaintiff Companies’ developers, or
either one of them a stock plan agreement and 125,000 shares of equity in his newly formed
entity, Defendant Channel Reply, Inc., without Dardashtian and/or the Plaintiff Companies’
authorization and/or consent. Defendant Gitman, upon information and belief, also told
Bagaiev, that he will be considered a co-founder of the new Defendant Channel Reply Inc.
company to win his loyalty.

65. On June 2, 2017 Defendant Gitman spoke to Bagaiev about becoming an owner
of his new company, Defendant Channel Reply, Inc.

66. | Upon information and belief, Bagaiev thereafter became an owner of Channel

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Reply, Inc.

67. Upon information and belief, Defendant Gitman also discussed getting venture
capital and said he knew of a venture capitalist that could help.

68. On June 2, 2017, Defendant Gitman essentially indicated to Bagaiev, that after he
converted all of CSV’s assets to his new company Defendant Channel Reply Inc., he would offer
Dardashtian a 5% share of the new company but if Dardashtian did not accept it, then the 5%
share offered to Dardashtian would revert back to Bagaiev. When Bagaiev questioned why
Dardashtian would ever accept a 5% share of Defendant Channel Reply, Inc. (a company
unlawfully formed to compete with CSV and Plaintiff ChannelReply in which Dardashtian
already owns 50%), Defendant Gitman said “it was a fair and generous offer.”

69. Also, on June 2, 2017, Dardashtian noticed that Defendant Gitman had updated
the CSV-funded TimeDoctor account and changed the name to "David's company" thereby
further evidencing Defendant Gitman’s intent and plot to make CSV and Plaintiff ChannelReply
his and only his.

70. On June 4, 2017, Bagaiev asked whether they should update the Plaintiff
ChannelReply website and remove CSV's Terms of Service which identified CSV as the owner
of Plaintiff ChannelReply and replace it with new terms of service for Plaintiff ChannelReply's
existing customers so they can convert those customers to Defendant Channel Reply Inc.
Defendant responded “absolutely.”

71. Defendant Gitman also confirmed he is traveling to Russia/Ukraine to meet with
the Plaintiff Companies developers, Bagaiev and Glukharev in further efforts to operate
Defendant Channel Reply, Inc. in person within a few days.

72. On June 5, 2017, Defendant Gitman advised Bagaiev, in substance, that he

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intends to develop a new corporation in the Ukraine to cut company taxes. It appears he will be
trying to divert additional CSV’s funds, assets and proprietary information abroad.

73. Defendant Gitman has misappropriated and converted funds and assets rightfully
belonging to CSV and Plaintiff ChannelReply to fund his unlawful competing businesses, Accel
Commerce and Defendant Channel Reply, Inc.

74. Defendant Gitman further induced the Plaintiff Companies’ developers to
participate in his scheme to misappropriate CSV and Plaintiff ChannelReply’s assets, trade
secrets and confidential and proprietary information to the benefit of Gitman and Defendant
Channel Reply, Inc.

75. Defendant Falk has conspired and participated in Defendant Gitman’s
misappropriation and conversion of CSV’s and Plaintiff Channel Reply’s assets, trade secrets
and confidential and proprietary information to the benefit of Accel Commerce Defendant
Channel Reply Inc. and himself.

76. Defendants Bagaiev and Glukharev have also conspired and participated in
Defendant Gitman’s misappropriation of CSV’s and Plaintiff ChannelReply’s assets, trade
secrets, tradename and confidential and proprietary information to the benefit of Accel

Commerce, Defendant Channel Reply, Inc. and themselves, respectively.

GITMAN, FALK, BAGAIEV, DALVA VENTURES, GLUKHAREV, DEFENDANT
CHANNEL REPLY, INC AND ACCEL COMMERCE MISAPPROPRIATION OF
VARIOUS COMPUTER PASSCODES AND SOFTWARE

77. From May 27, 2017 through the commencement of the instant action, Dardashtian
tried to logon to his CSV Bank of America bank account without success. Dardashtian received

notification that his passcodes had been changed, thereby locking him out so that he could not

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alter or redirect any preexisting debits, nor see incoming or outgoing account activity. Plaintiff
Aff. Exhibit “63.”

78. Dardashtian was also locked out of the NDAP, LLC Bank of America business
account as well.

79. After attempting to access other CSV computer software, Dardashtian was unable
to access any of CSV’s accounts that are utilized to operate multiple websites and businesses
through CSV.

80. CSV stores all passwords to all accounts on a heavily encrypted password storage
site called “1 password”. This is a site designed to control all company level passwords for all
accounts,

81. Defendant Gitman abused and his exceeded his authority as to CSV’s software as
he has “locked out” Dardashtian from CSV’s computer software by removing his access to “1
password.”

82. As aresult of Gitman’s actions, Dardashtian could not access passwords to
around two dozen company portals housing all company data, customer lists, codes, payment
information, receipts, company historical documents, proprietary information and other
information relating to CSV and Plaintiff ChannelReply.

83. Gitman also abused and his exceeded his authority as to CSV’s software by
“locking out” Dardashtian from Google Suite. Google Suite is a business level version of
Google. The suite of services provided by google includes email addresses, google documents,
including all of Dardashtian’s company documents, such as company data, documents, customer

lists, subscriptions and invoices.

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84. Defendant Gitman further created a new Google domain suite for Plaintiff
ChannelReply to transfer all of Plaintiff ChannelReply’s proprietary documents, email addresses
and other confidential information away from CSV’s business accounts and to a new Goo gle
suite portal that only Gitman controls. Dardashtian cannot access it despite Gitman sending CSV
employees new invite logins for such access.

85. Since Defendant Gitman misappropriated and converted all of CSV’s
company data over to his new Google Suite and locked Dardashtian out of 1Password,
Dardashtian could not access any company accounts except for his NDAP, LLC email address.
This meant that anything new going forward, new incoming or outgoing emails, new and past
data and documents, Dardashtian could not access.

86. Defendant Gitman not only locked Dardashtian out of CSV’s and Plaintiff
ChannelReply’s computer software but he also misappropriated Dardashtian’s business identity
by taking his email address michael@channelreply.com to the new G suite and put his own
photo up on Google. Gitman’s actions had the deceiving effect upon anyone who receives an
email or has received an email in the past from Dardashtian’s email address. The email
stated Michael@channelreply.com and Michael Dash (Dardashtian’s known business name) but
had Defendant Gitman’s face on the Gmail account, as if he was Dardashtian.

87.  Gitman’s actions further enabled Gitman to receive all emails going to and
intended for Dardashtian by Plaintiff's Channel Reply’s customers and business associates. If he
responded to such communications, he was doing so pretending and fraudulently conveying that
he was Dardashtian. If he did not respond, it portrayed that Dardashtian was not responding to
his customers and colleagues. Either way Gitman had enormous power to continue to damage

Dardashtian’s business reputation, as well as the company Dardashtian spent years building.

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88. Defendant Gitman also exceeded and abused his authorization to access to
CSV’s Google Suite to download all data, reset all passwords, delete or suspend some accounts
all without Dardashtian’s knowledge or authorization.

89. Upon information and belief, Defendant Gitman downloaded all
NDAP business data and emails without Dardashtian’s knowledge or authorization.

90. Dardashtian has compiled evidence through an email tracking software called
MixMax that Defendant Gitman, upon information and belief, opened and then downloaded
Dardashtian’s personal investment document, which is Dardashtian’s confidential personal
financial statement.

91. | Mix Max indicates that at around 6:00 a.m. Defendant Gitman was opening
certain company emails from Brooklyn, NY. When someone accesses an email that was not sent
to him, MixMax shows the recipient's name and also the location of where that person is
accessing the email communication. On this occasion, only minutes after Defendant Gitman
opened a company document from Brooklyn, it shows that someone from Brooklyn opened a
personal investment document that Dardashtian had sent privately to his accountant and then
downloaded it. Dardashtian’s accountant does not live in Brooklyn, and was not in Brooklyn that
morning, so the only other person who had the access to download and open Dardashtian’s
personal financial statement was Defendant Gitman since he holds master admin logon to
Dardashtian’s NDAP email which Gitman has since converted.

92.  Gitman also changed passwords to Chargebee and Stripe which are the
payment portals for the existing Plaintiff ChannelReply customers to pay their subscriptions.
Those passwords were saved on Dardashtian’s personal computer. When Dardashtian attempted

to login he could not. When he tried to reset the passwords, the password resets were sent

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to Michael@channelreply.com which is now under Gitman’s control. Dardashtian cannot access
those accounts, and therefore cannot access any payment information for Plaintiff ChannelReply.
Stripe is an online payment portal for customers, Chargebee is a subscription management portal
for customers.

93. Defendant Gitman had these capabilities because he is a master administrator
of accounts on Google Domain by virtue of him creating the CSV Google account, which
Dardashtian was also formerly an equal administrator prior to May 27, 2017.

94, On May 27, 2017, Defendant Gitman abused and exceeded his authorization as to
his company access by removing Dardashtian as an administrator on Google Domain. By
removing Dardashtian as admin from the ndapllc.com level domain, which controls all of CSV’s
subdomains, Defendant Gitman hasremoved Dardashtian’s access to more than a dozen active
email addresses that Dardashtian uses to conduct business and get information related to his
businesses from vendors and customers.

95. Such businesses that fall under NDAP- LLC and under the CSV umbrella, which
Dardashtian cannot now access: Car Part Kings, Cooper Square Ventures, Plumburs, NDAP,
LLC, Next Day Auto Parts. This results in Dardashtian not having access to any Google drive
accounts associated with the email accounts above, which contain all of Dardashtian’s business
documents, accountings, receipts, transaction records, customer information, proprietary
information, etc.

96.  Gitman also removed Dardashtian’s access to any Google analytics accounts
associated with the email addresses above. A list of locked out accounts are annexed to Plaintiff
Aff. Exhibit 64a.

97. Defendant Gitman also changed, shared company passwords, and revoked or

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suspended Dardashtian’s access to the following accounts:

a.

1Password Account — this is a password and login account management system. It
holds all of Dardashtian’s personal passwords and the companies shared passwords.
Account was paid for out of CSV company funds.

Chargebee Account — This is CSV’s subscription management account that holds the
customer information and billing information for all of Plaintiff’s ChannelReply
customers.

Stripe Account — This is CSV’s credit card billing service that allows CSV to receive
credit card payments from Plaintiff ChannelReply customers.

PayPal Account — This is an online payment system which allows CSV to take online
payments from Plaintiff ChannelReply customers.

Upwork Account — This is a freelancer marketplace that allows CSV to hire and pay
freelancers to run the Plaintiff ChannelReply business.

Zendesk Accounts — This is a customer service management account which allows
CSV to talk to its customers when they email CSV through support tickets.

JIRA Account — This is a project management software that allows CSV to manage
projects effectively for CSV’s business to successfully complete tasks.

Slack — This is a messaging management software for CSV’s business that allows
company employees and freelancers to openly communicate with one another and
share documents.

Amazon Seller Central — This is CSV’s Amazon seller account that allows CSV to
sell products on Amazon and manage MWS accounts for Plaintiff ChannelReply
sellers through its admin.

eBay Accounts — This allows CSV to sell products on ebay and manage its ebay
subscription identifications for Plaintiff ChannelReply sellers through its admin.

Timedoctor — This allows CSV to manage the time management of employees and
freelancers via an online portal to track time and take screenshots of employees and

freelancer work.

Amazon Web Services (AWS) — This is where CSV manages all of its Amazon Web
Servers which keep the businesses servers running effectively.

m. American Express Account — This is a NDAP corporate credit card account.

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n. Magento Accounts — This is CSV’s Magento Admin which allows it to see all
backend data associated with our business.

0. Quickbooks Accounts. This provides access to the Plaintiff Companies’ Quickbooks
accounts.

p. Desk.com Account - This is a customer service management account which allows
CSV to talk to CSV customers when they email through support tickets.

q. Godaddy Account — CSV has an account with godaddy account which owns and
operates many domains, Dardashtian cannot login to Godaddy to even list all of the
domains owned by CSV and/or Plaintiff ChannelReply.

tr. Magemojo — This is CSV’s Magento hosted server account.

s. Mailchimp — This is CSV’s email subscription newsletter account.

t. Github — This is where all of CSV’s software is checked in and stored for sharing.

u. Ringcentral — This is CSV’s VOIP system that allows CSV to make and receive
internet phone calls and faxes.

v. Join.me — This is a screenshare service that allows CSV to talk to customers and share
screens with them.

[See Plaintiffs Aff. Exhibits “64a”, “64b,” 64c”, “64d”, “64e,” “64f,” “64g,” “64h,”
“64i."7}

98. Defendant Gitman threatened the existence of Dardashtian’s, CSV’s
and Plaintiff ChannelReply’s respective businesses and further prevented Dardashtian from
growing them, causing Dardashtian, CSV, and Plaintiff ChannelReply to lose business
relationships.

99. | However, Defendant Gitman’s actions in intentionally damaging Dardashtian,
CSV and Plaintiff ChannelReply for his own personal gain and that of Channel Reply, Inc.,
caused Dardashtian to review Defendant Gitman’s actions on a real-time basis.

100. Defendant Gitman neglected to terminate Dardashtian’s access to

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TimeDoctor, which allowed Dardashtian to monitor Defendant Gitman’s intentions and actions,
even though Dardashtian had no access to the vast majority of CSV data, no access to company
bank accounts, no access to CSV’s and Plaintiff ChannelReply’s computer codes, and virtually

no access to CSV’s employees.

101. On May 27, 2017, Dardashtian received a notification that someone requested to
change the password to Plaintiff ChannelReply's PayPal account.

102. Proof of Defendant’s Gitman’s illegal conduct is that on Tuesday, May 30, 2017,
at approximately 3:00 p.m., Defendant Gitman told Bagaiev, Plaintiff ChannelReply’s lead
developer, that he usurped Dardashtian’s company email address which caused customers
attempting to reach Dardashtian for different services, but were unable to do so. Plaintiffs Aff.
Exhibit 70.

103. On May 30, 2017, Defendant Gitman also acknowledged to Bagaiev that
he moved the Plaintiff ChannelReply email and account information to a new G suite. Defendant
Gitman changed employee passwords so they could access the G suite with all company emails
and documents. However, Defendant Gitman locked Dardashtian out of all company documents,
including customer lists, contracts, subscription information, and payment accounts etc.

104. On June 1, 2017, Defendant Gitman acknowledged to Plaintiff
ChannelReply’s lead developer that he has been viewing Dardashtian’s emails from
Dardashtian’s NDAP, LLC company email address.

105. = From May 27, 2017, when Defendant Gitman depleted CSV’s bank
account to the present, customers have still been under contract with CSV, believing they are
paying CSV.

106. However, upon information and beliefDefendant Gitman has

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misappropriated these payments by siphoning them to his own personal accounts or his new

company Defendant Channel Reply, Inc’s accounts without notifying CSV consumers.

107. _ Evidence of such misappropriation and conversion is documented,
demonstrating that Defendant Gitman locked Dardashtian out of CSV’s Stripe and Chargebee
accounts, the accounts which collect and deposit customer payments into the CSV bank account,
and the CSV bank account was caused to be overdrawn by Defendant Gitman’s actions.

108. Dardashtian had not seen any customer payments from Stripe or
Chargebee in the CSV payment portals since May 27, 2017.

109. Dardashtian has also received email notice that a new PayPal account has been
created for Plaintiff ChannelReply, to which Dardashtian does not have access.

110. Assuming that Dardashtian’s refusal to close the NDAP, LLC-XYZ Corp.
transaction, and thereby not reward Falk’s and Gitman’s respective unlawful conduct in relation
to said deal, is in large measure motivation for Defendant Gitman’s above wrongful conduct is
that on June 5, 2017, Defendant Gitman sent Dardashtian correspondence stating that he will not
discuss Plaintiff ChannelReply until Dardashtian meets Defendant Gitman’s egregious demands
relating to the sale of NDAP.

111. Defendants Falk, Bagaiev, Glukharev, Accel Commerce and Defendant Channel
Reply, Inc., respectively and jointly, have conspired and participated with Gitman who has
exceeded his authority as a holder of CSV’s and Plaintiff ChannelReply’s computer passcodes,

software, and passwords to further benefit themselves in competing businesses.

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Defamatory Comments

112. Defendant Gitman has also defamed Dardashtian
by stating several intentional false statements exposing Dardashtian to public contempt, ridicule,
aversion or disgrace thereby causing Dardashtian damages.

113. OnJune 1, 2017 and June 2, 2017, Defendant Gitman stated to Bagaiev that
Dardashtian “stole” money, which was used in part by Defendant Gitman to induce Bagaiev and
Glukharev to resign from the Plaintiff Companies and join Gitman in Gitman’s unlawful
competing business, Channel Reply, Inc..

114. On June 2, 2017, Defendant Gitman stated to Bagaiev that Dardashtian was
operating a “pyramid scheme” via written communication.

115. On June 1, 2017, Defendant Gitman stated to Bagaiev that Dardashtian was a

“parasite” via written communication.

116. It was readily apparent that any efforts by Dardashtian to seek Defendant
Gitman’s cooperation to restore the Plaintiff Companies’ accounts, comply with his fiduciary
obligations or the CSV Operating Agreement were futile.

117. Defendant Gitman’s actions, were designed to and did, place the Plaintiff
Companies in complete deadlock for Gitman’s own personal gain.

118. Asaresult of Defendant Gitman’s actions, the Plaintiff Companies’
developers resigned from the Plaintiff Companies, forcing the Plaintiff Companies to lose
customers and to find secondary replacement contractors at a higher cost, contrary to the best

interests of the Plaintiff Companies.

COMPANY DEADLOCK AND GITMAN’S REPLACEMENT AS MANAGER
119. It was also apparent that the Plaintiff Companies could no longer be managed and

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operated jointly by Dardashtian and Gitman in conformity with the Plaintiff Companies’
Operating Agreements.

120. Leading up to the commencement of the within action, Dardashtian sought to
obtain Gitman’s cooperation to repair the business relationship and/or would either seek to
redeem Gitman’s interests in accordance with the CSV Operating Agreement or seek emergent
relief from a Court of competent jurisdiction.

121. On or about June 5, 2017, Gitman made a series of written demands, including,
but not limited to, (a) asking Dardashtian to use Plaintiff Companies’ funds to pay broker Jeremy
Falk more than reasonable value of his services, and (b) to pay an employee of Plaintiff
Companies, Alice Fritz, a portion of the net sale proceeds from a future sale of NDAP’s assets, in
excess of the reasonable value of her services.

122. Defendant Gitman’s actions were not in the best interests of the Plaintiff
Companies, and Dardashtian sought to the protect the Plaintiff Companies’ assets.

123. Every effort by Dardashtian to redeem and/or buy out Defendan Gitman’s rights,
title and interest in the Plaintiff Companies was refused by Defendant Gitman, who advised
Dardashtian that there is “no deal to be made here,” further rendering any attempt by Dardashtian
to redeem Gitman’s interests or obtain Gitman’s cooperation futile.

124. Dardashtian had no choice but to seek emergent relief from the Court, as it was
only Gitman’s unlawful and oppressive conduct that placed the Plaintiff Companies, CSV and
Plaintiff ChannelReply in jeopardy.

125. Upon information and belief, the Plaintiff Companies’ accounts continued to

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become overdrawn as a result of Gitman’s misappropriation of customer payments while he
simultaneously ran his personal expenses including his BMW car payments through the Plaintiff
Companies even after he emptied the CSV bank account of all funds.

126. Accordingly, Plaintiffs commenced the within action by way of Order to Show
Cause seeking temporary and preliminary injunctive relief and Verified Complaint on June 8,
2017 in an effort to restore the Plaintiff Companies operating and banking accounts and to
remove Gitman as manager to mitigate against the drastic remedy of dissolution or liquidation of
the Plaintiff Companies’ assets, which were converted by Gitman.

127. On June 8, 2017, the Court granted certain temporary injunctive relief to
Plaintiffs, including, but not being limited to, the Court’s requirement that Gitman immediately
restore the Plaintiff Companies’ operating and business accounts so that it could continue to
operate.

128. By Order of the Court dated June 19, 2017, the Court ultimately granted
preliminary injunctive relief to Plaintiffs, in part, including, but not being limited to, the removal
of Gitman as a co-manager of the Plaintiff Companies, for Gitman to fully restore the Plaintiff
Companies’ operating and banking accounts, and for Gitman to immediately dissolve Defendant
Channel Reply, Inc.

129. The Court’s Order of June 19, 2017 provided a remedy that would enable the
Plaintiff Companies to continue to do business and obviate the continuing existing threat of harm
presented by Gitman and his oppressive misconduct.

130. Since the Court’s Order of June 19, 2017 through the present, CSV and Plaintiff

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ChannelReply have been able to continue to do business under existing management by
Dardashtian without frustration of purpose and for the benefit of Plaintiff Companies’ large
national and international customer base.

131. Onor about August 14, 2018, Plaintiffs advised Gitman of Plaintiffs’ intention to
redeem Gitman’s membership interests in the Plaintiff Companies.

132. On or about and between October 4, 2018 through December 21, 2018, Plaintiffs
and Gitman attempted to negotiate satisfactory terms for a redemption of Gitman’s interests in
the Plaintiff Companies, including a) purchase price; and b) the time period for such closing and
c) the terms of the redemption agreement.

133. On December 20, 2018, in furtherance of Plaintiffs’ and Gitman’s negotiations
and Plaintiffs’ intention to redeem Gitman’s interests, Plaintiffs’ sent a draft buyout agreement to
Gitman for Gitman’s review and approval (“Proposed Buyout Agreement”).

134. On December 21, 2018, Gitman refused to enter into the Proposed Buyout
Agreement.

135. Any attempt by Dardashtian, as co-manager of Plaintiff Companies before
Defendant Gitman was removed as a co-manager, to effectuate a redemption of Gitman’s
membership interests in Plaintiff Companies was futile considering a) Gitman, at all times
relevant, would not agree to sell his interests in the Plaintiff Companies; b) Gitman’s oppressive
conduct while co-manager displayed his unwillingness to act in an equitable and fair manner as
to any potential redemption and c) despite almost a year of good faith negotiations by Plaintiff to
reach an equitable redemption of Gitman’s membership interests, Gitman refused.

136. Based on the reasons set forth herein, and the rationale in support of Court’s

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preliminary removal of Defendant Gitman as a manager of the Plaintiff Companies, Dardashtian
and Gitman cannot continue to jointly operate and manage the Plaintiff Companies, CSV and
Plaintiff ChannelReply in accordance with the CSV Operating Agreement as written.

In addition to Gitman’s unlawful and detrimental actions to date, Gitman continues to make false
assertions that he unilaterally owns CSV and ChannelReply’ sproprietary code and other assets,
has, upon information and belief, madedefamatory statements to the Plaintiff Companies’
developers about Dardashtian, and stated to them orally and/or in writing that he would never
work with Dardashtian again, and continues to state his intentions to compete with CSV and
convert its intellectual property for that purpose.

137. In contrast to the Plaintiff Companies’ dire situation that existed both prior to and
immediately following the Court’s June 19, 2017 preliminary removal of Defendant Gitman as
co-manager , Plaintiff Companies have since thereafter, under Dardashtian’s management,
remained stable, increased customer base, formed new partnerships and product features and a

return and retention of former employees.

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COUNT 1 [Dismissed]
INJUNCTIVE RELIEF AGAINST ALL DEFENDANTS?

138. Plaintiffs repeat and reallege all facts set forth above herein as if set forth
at length.

139. Plaintiffs are likely to succeed on its claims in this matter, including but not
limited to, a) breach of contract; b) misappropriation; c) conversion; d) tortious interference; e)
computer fraud pursuant to 18 USC 1030; f) theft of trade secrets pursuant to 18 USC 1832; and
g) breach of fiduciary duty. Specifically, as Plaintiff CSV is likely to prevail on the merits of its
claim under 18 USC 1030, it is entitled to injunctive relief pursuant to 18 USC 1030(g).

140. In the alternative, even if there exist sufficiently serious questions as to the merits,
the balance of hardships is decidedly tipped in the Plaintiffs’ favor.

141. Absent injunctive relief, Plaintiffs will suffer immediate and irreparable harm as a
result of the respective and joint actions of Gitman, Falk, Dalva Ventures, Accel Commerce,
Bagaiev, Glukharev and Defendant Channel Reply, Inc., including a) depletion of the assets of
Plaintiff ChannelReply and CSV; b) conversion of proprietary and confidential information
exclusively belonging to Plaintiff ChannelReply and CSV; c) significant damage to the business
relations of Plaintiff ChannelReply and CSV; and d) misappropriation of CSV’s and Plaintiff
ChannelReply’s trade secrets, confidential and proprietary information, such as customer lists

and addresses, vendor lists and addresses, computer software programs; computer pass codes.

 

3 By Order of the Court dated November 28, 2017, this Court granted Defendants’ motion to dismiss Plaintiffs’ First
Cause of Action on the grounds that injuctive relief is not a separate cause of action, it is a remedy. The Court
however found that injuctive relief is a possible remedy for Plaintiffs’ remaining claims, which shall remain
undisturbed.

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142.

The status quo certainly weighs in favor of Plaintiffs as Plaintiffs merely seek that

the Court restrain further unlawful misappropriation, depletion, usage, reproduction of Plaintiff

ChannelReply and CSV’s assets and trade secrets, prevent continued unfair competition through

the conversion and use of those assets and the Plaintiff ChannelReply trade name, and to compel

Gitman to replace all funds he wrongfully siphoned to competing businesses, Defendant Channel

Reply, Inc., Dalva Ventures and Accel Commerce, and to maintain those funds as has been the

normal course of conduct of the nearly 6 years’ business operations of Plaintiff ChannelReply

and CSV.

143.

Therefore, the Court must issue the following immediate Restraints:

Restraining and enjoining Defendants, Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from misappropriating and/or otherwise withdrawing funds
belonging to CSV, NDAP and/or Plaintiff ChannelReply from Plaintiff's banking
accounts and/or from any of Plaintiff's payment or subscription portals, including
but not limited to Stripe, Chargebee, PayPal, Amazon, eBay and/or from any
other location electronic or otherwise;

. Directing Defendant Gitman to redeposit into the CSV Bank of America banking

account all monies withdrawn by him and pay any overdraft fees incurred since
May 27", 2017, the date on which he withdrew the company’s funds;

Restraining Defendant Gitman from auto-debiting or scheduling new charges to
the NDAP American Express credit card or charges from the CSV or NDAP bank
accounts for any reason but also including, his personal expenses unrelated to
business, including but not limited to his RingCentral account, his Founders
discount card, and his BMW car payments and accompanying car insurance;

. Directing Defendant Gitman to remove his pre-existing and recurring monthly

auto debits from the CSV or NDAP bank accounts and the NDAP American
Express credit card including but not limited to his BMW car payments and
accompanying car insurance, his RingCentral account and his Founders discount
card;

Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,

Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and

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representatives, from accessing, disclosing, reproducing, electronically sharing,
electronically backing up, transferring and/or using in any manner Plaintiff
NDAP’s customer lists and addresses, email addresses and phone numbers,
vendor lists and addresses, email addresses and phone numbers, computer
software programs, computer codes, passcodes, passwords, intellectual property,
confidential information and trade secrets for any reason;

f. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from accessing, disclosing, reproducing, electronically sharing,
electronically backing up, transferring and/or using in any manner Plaintiff CSV
and Plaintiff ChannelReply’s “Company Confidential Information” as defined in
the CSV Operating Agreement, customer lists and addresses, email addresses and
phone numbers, vendor lists and addresses, email addresses and phone numbers,
computer software programs; computer codes, passcodes, passwords, intellectual
property, confidential information and trade secrets for any reason;

g. Directing Defendant Gitman to immediately provide and restore Plaintiff Michael
Dardashtian with full and complete access to all NDAP, CSV and ChannelReply
electronic accounts, including but not limited to, all password access to all codes,
accounts on Google Domain, bank accounts, email accounts, payment portal
accounts, and/or any other password-protected account and information relating to
NDAP, CSV and ChannelReply, including all twenty-two (22) accounts listed in
Exhibit 58 to the Affidavit of Michael Dardashtian;

h. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from utilizing, sharing, selling, transferring, backing up,
destroying, altering, wasting, terminating, discontinuing, building upon or
otherwise affecting in any manner the proprietary and/or confidential information
and code that was developed by CSV’s developers, Konstantyn Bagaiev and
Oleksii Glukharev, for the sole benefit of Plaintiffs CSV, ChannelReply and/or
NDAP;

i. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from soliciting, bribing, contracting with, offering employment
to, offering an equity participation in any one of Defendants’ business entities
and/or otherwise in any manner interfering with NDAP, CSV and ChannelReply’s
business relationships with its customers, vendors, employees, partners,
investment partners, prospective purchasers and/or subcontractors, including but
not limited to Konstantyn Bagaiev and Oleksii Glukharev;

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j. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings, and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from inducing or in any other manner soliciting Plaintiffs, NDAP,
CSV and ChannelReply’s customers, vendors, employees and/or subcontractors,
partners, prospective purchasers, investment partners, including but not limited to
Konstantyn Bagaiev and Olesksii Glukharev to terminate or alter their business
relationship and/or contractual relationship with Plaintiffs, or any one of them;

k. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives from misappropriating Plaintiff Michael Dardashtian’s identity,
including but not limited to his business identity, his emails, his personal financial
and identifier information, his tax documents, and/or falsely representing
themselves in any manner as Michael Dardashtian or under Plaintiff’s business
name “Michael Dash;”

1. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings, and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from contacting or in any other manner communicating with any
of Plaintiffs, NDAP, CSV, and/or Plaintiff ChannelReply’s customers, vendors,
employees, subcontractors, investors, prospective purchasers, including but not
limited to Konstantyn Bagaiev and Alesky Glukharev for any reason whatsoever
including but not limited to messaging customers and asking them to reconnect
their service or API for any purpose including to switch to a new payment
account;

m. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, including but not limited to Konstantyn Bagaiev and Oleksii
Glukharev from using the tradename “ChannelReply”, “Channel Reply”,
“Channel Reply, Inc.”, “ChannelReply, Inc.” “Channel Reply, LLC”,
“ChannelReply, LLC” or any other analogous or confusingly similar name to that

of Plaintiffs “ChannelReply” for any reason whatsoever;

n. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, including but not limited to Konstantyn Bagaiev and Oleksii
Glukharev, from using , in any way, shape or form, and for any purpose, any of
NDAP, CSV and Plaintiff ChannelReply’s confidential, proprietary and trade
secret information, including but not limited to Plaintiffs codes, software and
processes, to compete against Plaintiffs, NDAP, CSV and/or ChannelReply and

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from replicating or trying to replicate or recreate an identical or functionally
similar analog of any of NDAP, CSV and Plaintiff ChannelReply’s confidential,
proprietary and trade secret information, including but not limited to Plaintiff's
codes, software and processes, to compete against Plaintiffs, NDAP, CSV and/or
ChannelReply;

o. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings, and/or Channel Reply, Inc. from engaging in any
action(s) whatsoever which are competitive to Plaintiffs NDAP, CSV and/or
ChannelReply’s businesses or interests;

p. Restraining and enjoining Defendant Gitman from making any decisions
concerning Plaintiffs NDAP, CSV and/or ChannelReply without prior written
approval of Plaintiff Michael Dardashtian or order of the Court;

q. Restraining and enjoining Defendants Gitman, Falk, and any business in which
they are affiliated as an owner, member, officer, director, manager, or otherwise,
from engaging in any communications with any proposed purchaser of NDAP
and/or otherwise interfering with any potential sale of NDAP;

r. Restraining and enjoining all of Defendant Channel Reply, Inc.’s accounts,
physical, electronic or otherwise and Defendant David Gitman’s Bank of America
banking accounts and directing that a constructive trust be immediately imposed
on such accounts;

s. Directing Defendant Gitman, Falk, Dalva Ventures, Summit Rock Holdings,
Channel Reply, Inc. and any of their owners, members, officers, directors,
managers, employees, subcontractors, agents, transferees and representatives to
return to Plaintiffs all physical and/or electronic copies, backups, discs, drives,
including but not limited to USB drives, or other storage devices containing
copies or originals of any of NDAP, CSV or ChannelReply’s Company
Confidential Information as defined in the CSV Operating agreement, trade
secrets, company data or other property now in Defendants’ possession, custody
or control;

t. Directing Defendants Gitman, Falk, Dalva Ventures, Summit Rock Holdings,
Channel Reply, Inc. and of their owners, members, officers, directors, managers,
employees, subcontractors, agents, transferees and representatives to preserve and
not alter, tamper with or destroy in any way, all physical or electronic data,
documents, removable media, personal computers, work computers, hard drives
associated with personal and work computers, email accounts and corresponding
passwords, electronic storage devices including from or on the “cloud,” remote
servers, code repositories, writeable compact discs or CDs, writeable digital video
discs or DVDs, USB drives, floppy discs, files, messages, emails or any other
storage device containing information relating to their activities with NDAP, CSV
and Plaintiff Channel Reply, Channel Reply, Inc., Dalva Ventures, Summit Rock

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Holdings, Accel Commerce and any other related companies without alteration
and make them available for review by Plaintiffs and their authorized agents
pursuant to a Discovery request which Plaintiffs will submit to the Court;

WHEREAS, Plaintiffs request that the Court issue immediate preliminary and temporary
restraints as follows:

a. Restraining and enjoining Defendants, Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from misappropriating and/or otherwise withdrawing funds
belonging to CSV, NDAP and/or Plaintiff ChannelReply from Plaintiff's banking
accounts and/or from any of Plaintiffs payment or subscription portals, including
but not limited to Stripe, Chargebee, PayPal, Amazon, eBay and/or from any
other location electronic or otherwise;

b. Directing Defendant Gitman to redeposit into the CSV Bank of America banking
account all monies withdrawn by him and pay any overdraft fees incurred since
May 27", 2017, the date on which he withdrew the company’s funds;

c. Restraining Defendant Gitman from auto-debiting or scheduling new charges to
the NDAP American Express credit card or charges from the CSV or NDAP bank
accounts for any reason but also including, his personal expenses unrelated to
business, including but not limited to his RingCentral account, his Founders
discount card, and his BMW car payments and accompanying car insurance;

d. Directing Defendant Gitman to remove his pre-existing and recurring monthly
auto debits from the CSV or NDAP bank accounts and the NDAP American
Express credit card including but not limited to his BMW car payments and
accompanying car insurance, his RingCentral account and his Founders discount
card;

e. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from accessing, disclosing, reproducing, electronically sharing,
electronically backing up, transferring and/or using in any manner Plaintiff
NDAP’s customer lists and addresses, email addresses and phone numbers,
vendor lists and addresses, email addresses and phone numbers, computer
software programs, computer codes, passcodes, passwords, intellectual property,
confidential information and trade secrets for any reason;

f. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,

Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and

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representatives, from accessing, disclosing, reproducing, electronically sharing,
electronically backing up, transferring and/or using in any manner Plaintiff CSV
and Plaintiff Channel Reply’s “Company Confidential Information” as defined in
the CSV Operating Agreement, customer lists and addresses, email addresses and
phone numbers, vendor lists and addresses, email addresses and phone numbers,
computer software programs; computer codes, passcodes, passwords, intellectual
property, confidential information and trade secrets for any reason;

g. Directing Defendant Gitman to immediately provide and restore Plaintiff Michael
Dardashtian with full and complete access to all NDAP, CSV and ChannelReply
electronic accounts, including but not limited to, all password access to all codes,
accounts on Google Domain, bank accounts, email accounts, payment portal
accounts, and/or any other password-protected account and information relating to
NDAP, CSV and ChannelReply, including all twenty-two (22) accounts listed in
Exhibit 58 to the Affidavit of Michael Dardashtian;

h. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from utilizing, sharing, selling, transferring, backing up,
destroying, altering, wasting, terminating, discontinuing, building upon or
otherwise affecting in any manner the proprietary and/or confidential information
and code that was developed by CSV’s developers, Konstantyn Bagaiev and
Oleksii Glukharev, for the sole benefit of Plaintiffs CSV, ChannelReply and/or
NDAP;

i. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from soliciting, bribing, contracting with, offering employment
to, offering an equity participation in any one of Defendants’ business entities
and/or otherwise in any manner interfering with NDAP, CSV and ChannelReply’s
business relationships with its customers, vendors, employees, partners,
investment partners, prospective purchasers and/or subcontractors, including but
not limited to Konstantyn Bagaiev and Oleksii Glukharev;

j. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings, and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from inducing or in any other manner soliciting Plaintiffs, NDAP,
CSV and ChannelReply’s customers, vendors, employees and/or subcontractors,
partners, prospective purchasers, investment partners, including but not limited to
Konstantyn Bagaiev and Olesksii Glukharev to terminate or alter their business
relationship and/or contractual relationship with Plaintiffs, or any one of them;

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k. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives from misappropriating Plaintiff Michael Dardashtian’s identity,
including but not limited to his business identity, his emails, his personal financial
and identifier information, his tax documents, and/or falsely representing
themselves in any manner as Michael Dardashtian or under Plaintiff’s business
name “Michael Dash;”

1. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings, and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from contacting or in any other manner communicating with any
of Plaintiffs, NDAP, CSV, and/or Plaintiff ChannelReply’s customers, vendors,
employees, subcontractors, investors, prospective purchasers, including but not
limited to Konstantyn Bagaiev and Alesky Glukharev for any reason whatsoever
including but not limited to messaging customers and asking them to reconnect
their service or API for any purpose including to switch to a new payment
account;

m. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, including but not limited to Konstantyn Bagaiev and Oleksii
Glukharev from using the tradename “ChannelReply”, “Channel Reply”,
“Channel Reply, Inc.”, “ChannelReply,Inc.” “Channel Reply, LLC”,
“ChannelReply, LLC” or any other analogous or confusingly similar name to that
of Plaintiffs “ChannelReply” for any reason whatsoever;

n. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, including but not limited to Konstantyn Bagaiev and Oleksii
Glukharev, from using , in any way, shape or form, and for any purpose, any of
NDAP, CSV and Plaintiff ChannelReply’s confidential, proprietary and trade
secret information, including but not limited to Plaintiff's codes, software and
processes, to compete against Plaintiffs, NDAP, CSV and/or ChannelReply and
from replicating or trying to replicate or recreate an identical or functionally
similar analog of any of NDAP, CSV and Plaintiff ChannelReply’s confidential,
proprietary and trade secret information, including but not limited to Plaintiff's
codes, software and processes, to compete against Plaintiffs, NDAP, CSV and/or
ChannelReply;

0. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings, and/or Channel Reply, Inc. from engaging in any

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action(s) whatsoever which are competitive to Plaintiffs NDAP, CSV and/or
ChannelReply’s businesses or interests;

p. Restraining and enjoining Defendant Gitman from making any decisions
concerning Plaintiffs NDAP, CSV and/or ChannelReply without prior written
approval of Plaintiff Michael Dardashtian or order of the Court;

q. Restraining and enjoining Defendants Gitman, Falk, and any business in which
they are affiliated as an owner, member, officer, director, manager, or otherwise,
from engaging in any communications with any proposed purchaser of NDAP
and/or otherwise interfering with any potential sale of NDAP;

r. Restraining and enjoining all of Defendant Channel Reply, Inc.’s accounts,
physical, electronic or otherwise and Defendant David Gitman’s Bank of America
banking accounts and directing that a constructive trust be immediately imposed
on such accounts;

s. Directing Defendant Gitman, Falk, Dalva Ventures, Summit Rock Holdings,
Channel Reply, Inc. and any of their owners, members, officers, directors,
managers, employees, subcontractors, agents, transferees and representatives to
return to Plaintiffs all physical and/or electronic copies, backups, discs, drives,
including but not limited to USB drives, or other storage devices containing
copies or originals of any of NDAP, CSV or ChannelReply’s Company
Confidential Information as defined in the CSV Operating agreement, trade
secrets, company data or other property now in Defendants’ possession, custody
or control;

t. Directing Defendants Gitman, Falk, Dalva Ventures, Summit Rock Holdings,
Channel Reply, Inc. and of their owners, members, officers, directors, managers,
employees, subcontractors, agents, transferees and representatives to preserve and
not alter, tamper with or destroy in any way, all physical or electronic data,
documents, removable media, personal computers, work computers, hard drives
associated with personal and work computers, email accounts and corresponding
passwords, electronic storage devices including from or on the “cloud,” remote
servers, code repositories, writeable compact discs or CDs, writeable digital video
discs or DVDs, USB drives, floppy discs, files, messages, emails or any other
storage device containing information relating to their activities with NDAP, CSV
and ChannelReply, Channel Reply, Inc., Dalva Ventures, Summit Rock Holdings,
Accel Commerce and any other related companies without alteration and make
them available for review by Plaintiffs and their authorized agents pursuant to a
Discovery request which Plaintiffs will submit to the Court.

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COUNT 2
BREACH OF FIDUCIARY DUTY AS TO GITMAN
144. Plaintiffs repeat and reallege all facts set forth above herein as if set forth
at length.

145. As an equal 50% co-owner and co-manager of CSV, NDAP and Plaintiff
ChannelReply, Defendant Gitman owed and continues to owe fiduciary duties of care, loyalty
and good faith to CSV, Plaintiff ChannelReply, Plaintiff, NDAP and Plaintiff Dardashtian. These
fiduciary duties include obligations to discharge his obligations to Plaintiffs in good faith and
honestly.

146. Defendant Gitman knowingly breached his fiduciary duties to Plaintiffs.

147. Defendant Gitman failed to act in a manner consistent with his obligations in
accordance with the CSV Operating Agreement, his agency and trust to Plaintiffs, and failed to
exercise the utmost good faith and loyalty in the performance of his duties to Plaintiffs,

148. Among other things, a) Defendant Gitman depleted the CSV business operating
account without the express permission of Plaintiff Dardashtian; b) misappropriated and
converted CSV’s and Plaintiff ChannelReply’s respective business assets and proprietary and
confidential information and trade secrets to form two competing companies, Accel Commerce
and Defendant Channel Reply, Inc.; c) solicited CSR’s and Plaintiff’ s ChannelReply’s respective
customers on behalf of competing businesses; d) “locked out” Plaintiff Dardashtian from
multiple computer and electronic accounts necessary and fundamental to CSV’s and Plaintiff
ChannelReply’s business operations, including financial accounts in which Dardashtian had
always had access; e) accessed and disclosed Plaintiff Dardashtian’s personal private financial

and other information; f) conspired with Summit Rock and Falk, respectively, to increase their

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brokerage fee as to the NADP, LLC-X YZ transaction, while at the same time forming a
competing business with Falk; and g) misappropriated and otherwise used the exact tradename
“Channel Reply” to unfairly compete against Plaintiff ChannelReply.

149. Defendant Gitman has exploited CSV and Plaintiff ChannelReply’s trade secrets
and confidential information, and has damaged CSV’s operating accounts, converted and altered
CSV’s computer passcodes and software thereby irreparably harming Dardashtian and CSV’s
and Plaintiff Channel Reply’s respective relationship with its own customers.

150. Defendant Gitman’s actions caused the loss of customers of the Plaintiff
Companies and excessive costs in replacing the Plaintiff Companies’ developers that Defendant
Gitman induced to resign contrary to the best interests of the Plaintiff Companies which caused
further damages. .

151. Asa direct and proximate result of Defendant Gitman’s breaches of his fiduciary
duties, Plaintiffs have been damaged in an amount to be determined at trial.

WHEREFORE, Plaintiff demands judgment against Defendant Gitman for all
compensatory, attorney’s fees, punitive and consequential damages as a result of such unlawful

conduct for an amount to be determined at trial but which is in excess of $2,000,000.00.

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COUNT 34

BREACH OF FIDUCIARY DUTY AS TO FALK
AND SUMMIT ROCK [Dismissed]

152. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at
length.

153. Defendant Falk and Summit Rock, as a broker and consultant to CSV, owe a
respective duty of loyalty to CSV and Dardashtian, which includes not forming a competing
business against CSV and Plaintiff ChannelReply unbeknownst to Dardashtian, while attempting
to leverage Dardashtian for a higher brokerage fee as to the NADP, LLC-XYZ, Corp.
transaction.

154. Defendant Falk further owes a duty to Dardashtian and to CSV to not conspire
with Gitman to convert and misappropriate the assets of CSV and Plaintiff ChannelReply to
benefit Accel Commerce.

WHEREFORE, Plaintiff demands judgment against Defendants Falk Summit Rock and
Gitman for all compensatory, punitive, attorney’s fees, and consequential damages as a result of
such unlawful conduct for an amount to be determined at trial but which is in excess of

$2,000,000.00.

 

“ All causes of action asserted as against Falk and Summit Rock were dismissed with prejudice by way of stipulation
of the parties and entered by the Court on January 10, 2018.

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COUNT 4 _

AIDING AND ABETTING BREACH OF FIDUCIARY DUTIES AS TO ALL
DEFENDANTS [Dismissed as to Falk and Summit Rock]

155. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at
length.

156. Defendants Falk, Accel Commerce, Dalva Ventures, Bagaiev, Glukharev, and
Channel Reply, Inc. have actual knowledge of Defendant Gitman’s duties and obligations
because they are each aware that Defendant Gitman serves as an equal 50% co-owner and co-
manager of CSV, NDAP and Plaintiff ChannelReply.

157. Despite Falk, Accel Commerce, Dalva Ventures, Bagaiev, Glukharev, and
Channel Reply, Inc.’s respective knowledge of Defendant Gitman’s fiduciary duties and
obligations to Plaintiffs, they, respectively and jointly, have knowingly induced, participated in,
and/or assisted Defendant Gitman to breach his fiduciary duties of care, loyalty and good faith to
Dardashtian, CSV and Plaintiff ChannelReply by, among other things, a) the depletion of the
CSV business operating account without the express permission of Plaintiff Dardashtian; b)
misappropriating and converting CSV’s and ChannelReply’s respective business assets and
proprietary and confidential information and trade secrets to form and for the benefit of
themselves including the two competing companies, Accel Commerce and Channel Reply, Inc.;
c) soliciting CSV’s and Plaintiff's Channel Reply’s respective customers on behalf of competing
businesses; d) abusing and exceeding authority and “locking out” Plaintiff Dardashtian from
multiple computer and electronic accounts necessary and fundamental to CSV’s and Plaintiff's
ChannelReply’s business operations, including financial accounts; e) improperly accessing and

disclosing Plaintiff Dardashtian’s personal private financial and other information; f) using an

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exact same trade name to unfairly compete against Plaintiff Channel Reply; and g) improperly
soliciting Plaintiffs’ developers to breach their duties to Plaintiffs.

158. Defendants Falk, Accel Commerce, Bagaiev, Glukharev, and Channel Reply,
Inc’s respective and joint actions in aiding and abetting these breaches of fiduciary duty were
and are intentional, illegal and have been engaged in for the specific purpose of aiding and
abetting Defendant Gitman to breach his fiduciary duties to Plaintiffs.

159. Asa proximate result of Falk, Accel Commerce, Bagaiev, Glukharev, and
Defendant Channel Reply, Inc respective and joint aiding and abetting of breach of fiduciary
duties, Plaintiffs have been damaged.

WHEREFORE, Plaintiff demands judgment against Defendants, jointly and severally,
for all compensatory, punitive, attorney’s fees and consequential damages as a result of such
unlawful conduct for an amount to be determined at trial but which amount is in excess of

$2,000,000.00.

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COUNT 5
VIOLATION OF 18 USC 1832 AND 18 USC 1836 AGAINST GITMAN, FALK,
BAGAIEV, GLUHAREV, ACCEL COMMERCE, DALVA VENTURES, AND
DEFENDANT CHANNEL REPLY, INC. [Dismissed as to Falk and Summit Rock]

160. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at
length.

161. Plaintiffs, CSV and Plaintiff ChannelReply are the owners of the trade secrets and
confidential and proprietary information relating to Plaintiff ChannelReply’s computer software
used in the industry of e-commerce. Such trade secrets include customer lists and addresses,
vendor lists and addresses, computer software programs; computer pass codes and other
protectable intellectual property and proprietary information. These trade secrets include but are
not limited to CSV’s and Plaintiff Channel Reply’s electronic services that are used in or
intended for use in interstate and foreign commerce. CSV and Plaintiff ChannelReply sell the
software solutions throughout the United States and worldwide.

162. Defendant Gitman, Falk, Accel Commerce, Dalva Ventures, Defendant Channel
Reply, Inc., Konstantyn Bagaiev, Olesksii Glukharev, respectively and jointly, have stolen,
fraudulently used, possessed, and/or misappropriated CSV’s and Plaintiff ChannelReply’s trade
secrets and confidential information by knowingly acquiring such trade secrets, intellectual and
proprietary property and confidential information to form and maintain a competing business
operation to CSV and Plaintiff ChannelReply.

163. Defendant Gitman, Falk, Dalva Ventures, Accel Commerce, Defendant Channel

Reply, Inc., Konstantyn Bagaiev, Olesksii Glukharev have conspired to fraudulently use,

possess, and/or misappropriate CSV’s and Plaintiff ChannelReply’s trade secrets, intellectual

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and proprietary property and confidential information by knowingly acquiring such trade secrets,
intellectual and proprietary property and confidential information to form and maintain a
competing business operation to CSV and Plaintiff ChannelReply.

164. 18 USC 1836 provides a plaintiff with civil remedies against any individuals who
have misappropriated a trade secret, such damages including damages for the actual loss of the
trade secret, damages for any unjust enrichment caused by the misappropriation of the trade
secret, and if willfully and maliciously misappropriated, the Court shall award two times the
amount of the damages awarded to a plaintiff.

165. Defendant Gitman, Falk, Accel Commerce, Dalva Ventures, Defendant Channel
Reply, Inc., Konstantyn Bagaiev, Olesksii Gluharev have acted maliciously and willfully in
misappropriating CSV and Plaintiff ChannelReply trade secret information that CSV and
Plaintiff ChannelReply produce, service, and use in interstate and foreign commerce.

WHEREFORE, Plaintiff demands judgment against Defendant Gitman for all
compensatory, punitive, attorney’s fees, and consequential damages as a result of such unlawful
conduct for an amount to be determined at trial but which amount is in excess of $2,000,000.00,

including an award of two times the amount of damages awarded to the plaintiff at trial.

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COUNT 6
INJUNCTIVE RELIEF PURSUANT TO 18 USC 1836(b)(3) AGAINST GITMAN,
FALK, BAGAIEV, GLUHAREV, ACCEL COMMERCE AND DEFENDANT CHANNEL
REPLY, INC. [Dismissed as to Falk and Summit Rock]

166. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at
length.

167. 18 USC 1836(b)(3) provides an owner of a trade secret that has been
misappropriated injunctive relief to prevent any actual or threatened misappropriation on terms
the Court finds reasonable and may require the defendants to take affirmative action to protect
the trade secret.

168. Plaintiffs CSV and ChannelReply are the owner of the trade secrets and otherwise
confidential and proprietary information relating to its and Plaintiff ChannelReply computer
software and codes used in the industry of e-commerce, such trade secrets include customer lists
and addresses, vendor lists and addresses, computer software programs; computer passcodes,
codes and other intellectual and proprietary property. These trade secrets are CSV’s and Plaintiff
ChannelReply’s electronic services that are used in or intended for use in interstate or foreign
commerce. CSV and Plaintiff ChannelReply sell its software solutions throughout the United
States and worldwide.

169. Defendants Gitman, Falk, Accel Commerce, Dalva Ventures, Defendant Channel
Reply, Inc., Konstantyn Bagaiev, Olesksii Glukharev, respectively and jointly, have stolen,
fraudulently used, possessed, and/or misappropriated CSV’s and Plaintiff ChannelReply’s trade

secrets and intellectual and proprietary property, tradename and confidential information by

knowingly acquiring such trade secrets, intellectual and proprietary property, tradename and

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confidential information to form and maintain a competing business operation to CSV and
Plaintiff ChannelReply.

170. Defendant Gitman, Dalva Ventures, Falk, Accel Commerce, Defendant Channel
Reply, Inc., Konstantyn Bagaiev, Olesksii Glukharev have conspired to fraudulently use,
possess, and/or misappropriate CSV’s and Plaintiff ChannelReply’s trade secrets, intellectual and
proprietary property and confidential information by knowingly acquiring such trade secrets,
intellectual and proprietary property and confidential information to form and maintain a
competing business operation to CSV and Plaintiff ChannelReply.

WHEREFORE, the Court must enter injunctive relief as follows:

a. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees
and representatives, from misappropriating and/or otherwise withdrawing
funds belonging to CSV, NDAP and/or Plaintiff Channel Reply from
Plaintiff's banking accounts and/or from any of Plaintiff's payment or
subscription portals, including but not limited to Stripe, Chargebee, PayPal,
Amazon, eBay and/or from any other location electronic or otherwise;

b. Directing Defendant Gitman to redeposit into the CSV Bank of America
banking account all monies withdrawn by him and pay any overdraft fees
incurred since May 27", 2017, the date on which he withdrew the company’s
funds;

c. Restraining Defendant Gitman from auto-debiting or scheduling new charges
to the NDAP American Express credit card or charges from the CSV or
NDAP bank accounts for any reason but also including, his personal expenses
unrelated to business, including but not limited to his RingCentral account, his
Founders discount card, and his BMW car payments and accompanying car
insurance;

d. Directing Defendant Gitman to remove his pre-existing and recurring monthly
auto debits from the CSV or NDAP bank accounts and the NDAP American
Express credit card including but not limited to his BMW car payments and
accompanying car insurance, his RingCentral account and his Founders
discount card;

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e. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from accessing, disclosing, reproducing, electronically sharing,
electronically backing up, transferring and/or using in any manner Plaintiff
NDAP’s customer lists and addresses, email addresses and phone numbers,
vendor lists and addresses, email addresses and phone numbers, computer
software programs, computer codes, passcodes, passwords, intellectual property,
confidential information and trade secrets for any reason;

f. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from accessing, disclosing, reproducing, electronically sharing,
electronically backing up, transferring and/or using in any manner Plaintiff CSV
and Plaintiff Channel Reply’s “Company Confidential Information” as defined in
the CSV Operating Agreement, customer lists and addresses, email addresses and
phone numbers, vendor lists and addresses, email addresses and phone numbers,
computer software programs; computer codes, passcodes, passwords, intellectual
property, confidential information and trade secrets for any reason;

g. Directing Defendant Gitman to immediately provide and restore Plaintiff Michael
Dardashtian with full and complete access to all NDAP, CSV and Plaintiff
Channel Reply electronic accounts, including but not limited to, all password
access to all codes, accounts on Google Domain, bank accounts, email accounts,
payment portal accounts, and/or any other password-protected account and
information relating to NDAP, CSV and Plaintiff Channel Reply, including all
twenty-two (22) accounts listed in Exhibit 58 to the Affidavit of Michael
Dardashtian;

h. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from utilizing, sharing, selling, transferring, backing up,
destroying, altering, wasting, terminating, discontinuing, building upon or
otherwise affecting in any manner the proprietary and/or confidential information
and code that was developed by CSV’s developers, Konstantyn Bagaiev and
Oleksii Glukharev, for the sole benefit of Plaintiffs CSV, ChannelReply and/or
NDAP;

i. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from soliciting, bribing, contracting with, offering employment
to, offering an equity participation in any one of Defendants’ business entities
and/or otherwise in any manner interfering with NDAP, CSV and Plaintiff

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Channel Reply’s business relationships with its customers, vendors, employees,
partners, investment partners, prospective purchasers and/or subcontractors,
including but not limited to Konstantyn Bagaiev and Oleksii Glukharev;

j. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings, and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from inducing or in any other manner soliciting Plaintiffs, NDAP,
CSV and Plaintiff Channel Reply’s customers, vendors, employees and/or
subcontractors, partners, prospective purchasers, investment partners, including
but not limited to Konstantyn Bagaiev and Olesksii Glukharev to terminate or
alter their business relationship and/or contractual relationship with Plaintiffs, or
any one of them;

k. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives from misappropriating Plaintiff Michael Dardashtian’s identity,
including but not limited to his business identity, his emails, his personal financial
and identifier information, his tax documents, and/or falsely representing
themselves in any manner as Michael Dardashtian or under Plaintiffs business
name “Michael Dash;”

1. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings, and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, from contacting or in any other manner communicating with any
of Plaintiffs, NDAP, CSV, and/or Plaintiff Channel Reply’s customers, vendors,
employees, subcontractors, investors, prospective purchasers, including but not
limited to Konstantyn Bagaiev and Alesky Glukharev for any reason whatsoever
including but not limited to messaging customers and asking them to reconnect
their service or API for any purpose including to switch to a new payment
account;

m. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and
representatives, including but not limited to Konstantyn Bagaiev and Oleksii
Glukharev from using the tradename “ChannelReply”, “Channel Reply”,
“Channel Reply, Inc.”, “ChannelReply,Inc.” “Channel Reply, LLC”,
“ChannelReply, LLC” or any other analogous or confusingly similar name to that
of Plaintiffs “ChannelReply” for any reason whatsoever;

n. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,

Summit Rock Holdings and/or Channel Reply, Inc., their owners, members,
officers, directors, managers, employees, subcontractors, agents, transferees and

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representatives, including but not limited to Konstantyn Bagaiev and Oleksii
Glukharev, from using , in any way, shape or form, and for any purpose, any of
NDAP, CSV and Plaintiff ChannelReply’s confidential, proprietary and trade
secret information, including but not limited to Plaintiff's codes, software and
processes, to compete against Plaintiffs, NDAP, CSV and/or ChannelReply and
from replicating or trying to replicate or recreate an identical or functionally
similar analog of any of NDAP, CSV and Plaintiff ChannelReply’s confidential,
proprietary and trade secret information, including but not limited to Plaintiffs
codes, software and processes, to compete against Plaintiffs, NDAP, CSV and/or
ChannelReply;

0. Restraining and enjoining Defendants Gitman, Falk, Accel, Dalva Ventures,
Summit Rock Holdings, and/or Channel Reply, Inc. from engaging in any
action(s) whatsoever which are competitive to Plaintiffs NDAP, CSV and/or
ChannelReply’s businesses or interests;

p. Restraining and enjoining Defendant Gitman from making any decisions
concerning Plaintiffs NDAP, CSV and/or ChannelReply without prior written
approval of Plaintiff Michael Dardashtian or order of the Court;

q. Restraining and enjoining Defendants Gitman, Falk, and any business in which
they are affiliated as an owner, member, officer, director, manager, or otherwise,
from engaging in any communications with any proposed purchaser of NDAP
and/or otherwise interfering with any potential sale of NDAP;

r. Restraining and enjoining all of Defendant Channel Reply, Inc.’s accounts,
physical, electronic or otherwise and Defendant David Gitman’s Bank of America
banking accounts and directing that a constructive trust be immediately imposed
on such accounts;

s. Directing Defendant Gitman, Falk, Dalva Ventures, Summit Rock Holdings,
Channel Reply, Inc. and any of their owners, members, officers, directors,

- managers, employees, subcontractors, agents, transferees and representatives to
return to Plaintiffs all physical and/or electronic copies, backups, discs, drives,
including but not limited to USB drives, or other storage devices containing
copies or originals of any of NDAP, CSV or ChannelReply’s Company
Confidential Information as defined in the CSV Operating agreement, trade
secrets, company data or other property now in Defendants’ possession, custody
or control;

t. Directing Defendants Gitman, Falk, Dalva Ventures, Summit Rock Holdings,
Channel Reply, Inc. and of their owners, members, officers, directors, managers,
employees, subcontractors, agents, transferees and representatives to preserve and
not alter, tamper with or destroy in any way, all physical or electronic data,
documents, removable media, personal computers, work computers, hard drives
associated with personal and work computers, email accounts and corresponding

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passwords, electronic storage devices including from or on the “cloud,” remote
servers, code repositories, writeable compact discs or CDs, writeable digital video
discs or DVDs, USB drives, floppy discs, files, messages, emails or any other
storage device containing information relating to their activities with NDAP,
CSV, Plaintiff Channel Reply, Defendant Channel Reply, Inc., Dalva Ventures,
Summit Rock Holdings, Accel Commerce and any other related companies
without alteration and make them available for review by Plaintiffs and their
authorized agents pursuant to a Discovery request which Plaintiffs will submit to
the Court.

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COUNT 7
BREACH OF CONTRACT AGAINST GITMAN

171. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at
length.

172. Section 12.2 of the CSV Operating Agreement provides that Plaintiff Dardashtian
and Defendant Gitman shall not publish, communicate, divulge, disclose, disseminate or
otherwise reveal to any person or entity, or use for any purpose whatsoever any Confidential
Information belonging to CSV. Confidential Information is defined as any of CSV’s “processes,
data, designs, compilations of information, financial data, salary information, policies and
procedures, sales know-how or any other information that may be considered to be proprietary or
a trade secret of the Company, whether or not such information is considered a trade secret
within the meaning of applicable law.”

173. Defendant Gitman is using CSV’s Confidential Information, as that term is
defined in the CSV Operating Agreement, to operate Accel Commerce and Defendant Channel
Reply, Inc., to directly compete against Dardashtian, CSV and Plaintiff ChannelReply in the e-
commerce industry, both within the United States and worldwide.

174. Further, the CSV Operating Agreement provides that Dardashtian will have equal
access to all of CSV’s and Channel Reply’s respective accounts and assets.

175. Gitman, unilaterally, has eliminated Dardashtian’s access to the CSV and Channel
Reply accounts and assets.

176. Therefore, Defendant Gitman has breached his contractual obligations to
Dardashtian, CSV and Plaintiff ChannelReply, respectively. The CSV Operating Agreement sets

forth numerous acts which are prohibited by its members, including those set forth in Article

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11.5, and Defendant Gitman has violated many provisions of the CSV Operating Agreement as
are more fully set forth herein.

177. Asaresult, Dardashtian and CSV have been damaged in an amount to be proven
at trial but which is in excess of $2,000,000.00.

178. The CSV Operating Agreement in Section 17.10 provides that if a non-breaching
party prevails in any action to enforce its rights under same, such party shall be awarded
reasonable attorney’s fees incurred to enforce such rights. Therefore, Plaintiffs, including
Plaintiff Dardashtian are also entitled to an award of reasonable attorney’s fees against
Defendant Gitman in relation to this action.

179. After the commencement of the within action, temporary and preliminary injunctive
relief was granted by the Court as against Defendants, including Defendant Gitman, including in
substance, the requirements that Defendant Gitman restore Plaintiff Dardashtian’s access to all of
the Plaintiff Companies’ electronic accounts and to return all funds unlawfully withdrawn by
Defendant Gitman from the CSV Bank of America account. After the clear directives of the
Court were issued, Defendant Gitman failed to restore Dardashtian’s access to the Plaintiff
Companies’ electronic accounts and funds in a timely manner as otherwise required, further
requiring Plaintiffs to engage in unnecessary motion practice and Court appearances to compel
Defendant Gitman’s compliance at additional cost and expense to Plaintiffs.

180. Defendant Gitman’s non-compliance with the orders of the Court and delays in
timely restoring the Plaintiff Companies, so that they could fully operate in a timely manner,
should further justify and award of attorneys’ fees and costs.

WHEREFORE, Dardashtian, Plaintiff ChannelReply and CSV demand judgment against

Defendant Gitman for all compensatory, reasonable attorney’s fees, punitive and consequential

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damages as a result of such unlawful conduct for an amount to be determined at trial but which is
in excess of $2,000,000.00.
COUNT 8

UNJUST ENRICHMENT AGAINST ALL DEFENDANTS [Dismissed as to Falk
and Summit Rock]

181. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at
length.

182. Defendant Gitman, Falk, Accel Commerce, Dalva Ventures, Defendant Channel
Reply, Inc., Konstantyn Bagaiev and Olesksii Glukharev have received an unjust benefit as a
result of their respective and/or joint misappropriation of assets, confidential information,
intellectual and proprietary property and/or trade secrets belonging to CSV, Plaintiff
ChannelReply and Dardashtian, respectively.

183. Defendant Gitman, Falk, Accel Commerce, Dalva Ventures, Defendant Channel
Reply, Inc., Konstantyn Bagaiev and Olesksii Glukharev, respectively and jointly, have been
enriched at the expense of CSV, Plaintiff ChannelReply and Dardashtian as a result of such
wrongful conduct.

184. As aresult, Dardashtian, Plaintiff Channel Reply and CSV have been damaged in
an amount to be proven at trial but which is in excess of $2,000,000.00.

WHEREFORE, Dardashtian, Plaintiff ChannelReply and CSV demand judgment against
Defendants Gitman, Falk, Accel Commerce, Dalva Ventures, Defendant Channel Reply, Inc.,
Konstantyn Bagaiev and Olesksii Glukharev, jointly and severally, for all compensatory,
attorney’s fees, and consequential damages as a result of such unlawful conduct for an amount

to be determined at trial but which amount is in excess of $2,000,000.00.

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COUNT 9

BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING AGAINST
GITMAN

185. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at
length.

186. Every contract contains and implied covenant of good faith and fair dealing that
prevents either party to act in a manner that would deprive the other party the right to receive the
benefits under their agreement.

187. Defendant Gitman’s unilateral draining and siphoning the financial accounts of
CSV, and his formation and operation of competing businesses to CSV and Plaintiff
ChannelReply in the e-commerce industry is a violation of the covenant of good faith and fair
dealing implicitly found in the CSV Operating Agreement. Defendant Gitman’s actions as set
forth herein substantially violate his duty of good faith and fair dealing to which he is obligated
to Plaintiff Dardashtian and CSV.

188. Asa result, Dardashtian, Plaintiff Channel Reply and CSV have been damaged in
an amount to be proven at trial but which is in excess of $2,000,000.00.

WHEREFORE, Dardashtian, Plaintiff Channel Reply and CSV demand judgment against
Defendants Gitman, Falk, Accel Commerce, Defendant Channel Reply, Inc., Konstantyn
Bagaiev and Olesksii Glukharev, jointly and severally, for all compensatory, attorney’s fees,
punitive and consequential damages as a result of such unlawful conduct for an amount to be

determined at trial but which amount is in excess of $2,000,000.00.

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COUNT 10
CONVERSION

189. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at
length.

190. Onor about October 13, 2011, Plaintiff Dardashtian and Defendant Gitman
opened an operating account at Bank of America for CSV and its subsidiary companies including
Plaintiff ChannelReply (“BoA Account”). Each Dardashtian and Gitman were dual signatories
on such BoA Account.

191. Should the BoA Account not have funds in the bank to cover the operating
expenses of CSV and its subsidiary companies, CSV and its subsidiary companies will
jeopardize the operation of its business and the potential loss of its customers.

192. On May 26, 2017, the BoA Account had an account balance of $74,715.21.

193. With the intent to interfere with the BoA Account and Plaintiff Dardashtian’s
equal rights thereto, Defendant Gitman did intentionally withdraw and siphon the funds from the
BoA account to the exclusion of Plaintiff Dardashtian, CSV and Plaintiff ChannelReply and
without Dardashtian’s authorization or consent.

194. On May 27, 2017, Defendant Gitman emailed Plaintiff Dardashtian
acknowledging that Defendant Gitman took all of the money out of the BoA account. Defendant
Gitman refused to advise Plaintiff Dardashtian where the funds were located and further refused
to replenish the BoA Account so that CSV and its subsidiaries could pay its operating expenses
for CSV and Plaintiff ChannelReply. Upon information and belief, the siphoned funds have been
placed in an account in Defendant Gitman’s name.

195. Since May 26, 2017, the BoA Account has been operating at a negative balance

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and is not financially capable of meeting its operating expenses.

196. Defendant Gitman’s actions were intentional and designed solely to harm CSV
and its subsidiary companies to gain a competitive advantage in Defendant Gitman’s competing
businesses.

197. Additionally, Defendant Gitman has intentionally misappropriated these funds, to
interfere with CSV and Plaintiff ChannelReply’s ability to operate ChannelReply’s confidential,
proprietary, and trade secret software to inhibit Plaintiff ChannelReply’s ability to properly
service its customers in the industry of e-commerce so that Defendant Gitman’s competing
companies can have an advantage;

WHEREFORE, Plaintiff demands judgment against Defendant Gitman for all
compensatory, punitive, attorney’s fees, and consequential damages as a result of such unlawful

conduct for an amount to be determined at trial but which amount is in excess of $2,000,000.00.

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COUNT 11
CIVL CONSPIRACY AS TO FALK, ACCEL COMMERCE, BAGAIEV,
GLUKHAREV, DALVA VENTURES, AND CHANNEL REPLY, INC. AS TO
GITMAN’S CONVERSION [Dismissed as to Falk and Summit Rock]

198. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at
length.

199. As set forth in Count 10, Defendant Gitman has committed the unlawful act of
conversion as to the assets of CSV and Plaintiff ChannelReply.

200. Defendant Gitman conspired and unlawfully agreed to commit such conversion in
conspiring with Defendants Falk, Accel Commerce, Dalva Ventures, Bagaiev, Glukharev, and
Defendant Channel Reply, Inc.

201. Defendants Falk, Accel Commerce, Dalva Ventures, Bagaiev, Glukharev, and
Defendant Channel Reply, Inc. each took overt acts in furtherance of their respective and joint
agreement with Defendant Gitman to convert and misappropriate CSV’s and Plaintiff
ChannelReply’s assets as set forth in Count 10.

202. Asa proximate result of Defendants Falk, Dalva Ventures, Accel Commerce,
Bagaiev, Glukharev, and Channel Reply, Inc respective and joint unlawful conduct, Plaintiffs
have been damaged.

WHEREFORE, Plaintiff demands judgment against Defendants Falk, Accel Commerce,
Bagaiev, Glukharev, Dalva Ventures, and Defendant Channel Reply, Inc., jointly and severally,
for all compensatory, attorney’s fees, punitive and consequential damages as a result of such

unlawful conduct for an amount to be determined at trial but which amount is in excess of

$2,000,000.00.

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COUNT 12
FALSE DESIGNATION/ UNFAIR COMPETITION
15 U.S.C 1125 AGAINST GITMAN AND
DEFENDANT CHANNEL REPLY, INC.

203. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at
length.

204. In January 2014, CSV created a proprietary software solution called
“ChannelReply” that integrates Ebay and Amazon customer service messages and order
information into a customer relationship messaging tool for consumer-friendly messaging.

205. The “ChannelReply” trade name and title has acquired distinctiveness as it is
sufficiently known that consumers associate it with CSV and ChannelReply’s proprietary
messaging software.

206. Defendant Gitman’s use of the term “Channel Reply” to compete with Plaintiff
Channel Reply through Channel Reply Inc., is clearly intended by Defendant Gitman to trade off
CSV’s “ChannelReply” trade name, and is likely to cause and indeed will cause confusion,
mistake or deceit as to the affiliation, connection or association of Defendant Channel Reply
Inc., owned by Defendant Gitman, with Plaintiff ChannelReply, co-owned by Defendant Gitman
and Plaintiff Dardashtian.

207. Defendant Channel Reply Inc., is starkly similar to Plaintiff ChannelReply, in that
Defendant Gitman is seeking to unfairly compete with CSV and Plaintiff ChannelReply with the
misappropriation and unauthorized use of Plaintiff's ChannelReply’s goodwill, confidential and

proprietary software to offer the same service(s) to consumers in foreign and interstate

commerce in which Plaintiff ChannelReply maintained a competitive advantage.

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208. Defendant Channel Reply Inc.’s use of the ChannelReply trade name constitutes
the unauthorized use in commerce of Plaintiff's Channel Reply name and will deceive
consumers into believing that Defendant Channel Reply Inc., is the same business as Plaintiff
ChannelReply.

209. As the co-owner of Plaintiff ChannelReply and the owner of Channel Reply Inc.,
Defendant Gitman maintains full knowledge of the Plaintiff ChannelReply’s trade name and
confidential and proprietary software and service. Accordingly, Defendant Gitman’s acts to
misappropriate the Plaintiff ChannelReply tradename and good will are willful.

210. By reason of the acts of Defendant Gitman and Defendant Channel Reply Inc.,
Plaintiffs have suffered, are suffering and unless Defendant Gitman and Defendant Channel
Reply Inc., are restrained, will continue to suffer irreparable injury for which there is no adequate
remedy at law.

211. Plaintiffs are entitled to damages for Defendant Gitman’s and Defendant Channel
Reply Inc.’s infringement and malicious intentional confusion from its infringing conduct, both
in amounts to be proven at trial.

WHEREFORE, Plaintiff demands judgment against Defendants Gitman and Defendant
Channel Reply, Inc., jointly and severally, for all compensatory, attorney’s fees, punitive and
consequential damages as a result of such unlawful conduct for an amount to be determined at

trial but which amount is in excess of $2,000,000.00.

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COUNT 13

COMPUTER FRAUD
18 USC §1030 [Dismissed]

212. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at
length.

213. CSV’s computers and servers are password protected which store CSV’s and
Plaintiff ChannelReply’s intellectual, proprietary and confidential information (“Company
Computers”).

214. The Company Computers further store bank passwords for online banking access
containing financial records of its operating BoA Account which is utilized to pay CSV’s and its
subsidiary companies operating expenses, including those expenses of Plaintiff ChannelReply.

215. The Company Computers are used in interstate and foreign commerce.

216. The Company Computers are all “protected computers” under the 18 USC 1030,
the Computer Fraud and Abuse Act (“CFAA”).

217. As co-owners and co-managers of CSV and its subsidiary companies, Plaintiff
Dardashtian and Defendant Gitman jointly and equally shared and had access to the Company
Computers’ passwords, logon and login information, administrator information and therefore
each fully maintained equal access to the Company Computers although Defendant Gitman had
admin access and Plaintiff Dardashtian did not.

218. Beginning on or about May 27, 2017, Defendant Gitman knowingly and
fraudulently and without Plaintiff Dardashtian’s knowledge or consent, changed CSV’s banking
passwords and other passwords contained in the Company Computers, including CSV and
Plaintiff ChannelReply’s Paypal password which is utilized to communicate with CSV and

Plaintiff ChannelReply’s local and interstate customers, as well as several other software

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programs damaging them and blocking and otherwise terminating access to Dardashtian.
Defendant Gitman then altered and transferred Company data contained in the Company
Computers to further his scheme of establishing his competing companies and to effectively
lockout Dardashtian from CSV and Plaintiff ChannelReply business.

219. In doing so, and while acting in his capacity as co-owner and co-manager of CSV,
NDAP and Plaintiff ChannelReply, Defendant Gitman knowingly and intentionally exceeded his
authorized access to the Company Computers to prevent and otherwise terminate Plaintiff
Dardashtian from having computer access and further disabled Plaintiff Dardashtian’s ability to
access the Company Computers, all of which actions affect interstate and/or foreign commerce.

220. Plaintiffs have suffered a loss as a direct result of Gitman’s unlawful actions as
Plaintiffs now must incur costs of responding to the offense, conducting damage assessments,
and restoring the data, program, system, or information to its condition prior to the offense, and
have lost revenue, incurred costs, including attorney’s fees, or other consequential damages
incurred because of the interruption of service and Gitman’s interference with the Company
Computers. The aggregate value of such loss is in excess of $5,000.00 within the past one year.

WHEREFORE, Plaintiff demands judgment against Defendant Gitman for all
compensatory, attorney’s fees, punitive and consequential damages as a result of such unlawful

conduct for an amount to be determined at trial but which amount is in excess of $5,000.00.

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COUNT 14
CIVL CONSPIRACY AS TO FALK, ACCEL COMMERCE, BAGAIEV,
GLUKHAREV, DALVA VENTURES, AND CHANNEL REPLY, INC. AS TO
GITMAN’S VIOLATION OF 18 USC 1030 [Dismissed as to Falk and Summit Rock]

221. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at
length.

222. As set forth in Count 13, Defendant Gitman has committed the unlawful act of
Computer Fraud as to the CSV protected computers, software and passcodes.

223. Defendant Gitman conspired and unlawfully agreed to commit such conversion
with Defendants Falk, Accel Commerce, Dalva Ventures, Bagaiev, Glukharev, and Defendant
Channel Reply, Inc.

224. Defendants Falk, Accel Commerce, Dalva Ventures, Bagaiev, Glukharev, and
Defendant Channel Reply, Inc. each took overt acts in furtherance of their respective and joint
agreement with Defendant Gitman to convert and misappropriate CSV’s and Plaintiff Channel
Reply’s assets as set forth in Count 13 through Defendant Gitman’s commission of Computer
Fraud.

225. Asa proximate result of Defendants Falk, Dalva Ventures, Accel Commerce,
Bagaiev, Glukharev, and Channel Reply, Inc. respective and joint unlawful conduct, Plaintiffs
have been damaged.

WHEREFORE, Plaintiff demands judgment against Defendants Falk, Accel Commerce
Bagaiev, Glukharev, Dalva Ventures, and Defendant Channel Reply, Inc., jointly and severally,
for all compensatory, punitive, attorney’s fees, and consequential damages as a result of such

unlawful conduct for an amount to be determined at trial but which amount is in excess of

$5,000.00.

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COUNT 15
TORTIOUS INTERFERENCE WITH PROSPECTIVE BUSINESS ADVANTAGE
AGAINST GITMAN, FALK, ACCEL COMMERCE, BAGAIEV, GLUKHAREV,
DALVA VENTURES, AND CHANNEL REPLY, INC. [Dismissed as to Falk and Summit
Rock]

226. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at
length.

227. Defendants Gitman, Falk, Accel Commerce, Bagaiev, Glukharev, Dalva Ventures
and Defendant Channel Reply, Inc. are aware that CSV and Plaintiff ChannelReply have over
two hundred customers and additional proposed customers and business relations across the
United States and worldwide.

228. The above Defendants have wrongfully interfered with CSV and Plaintiff
ChannelReply’s proposed business relations. For example, the above Defendants have either
participated, assisted, and/or committed: a) the depletion of the CSV business operating account
without the express permission of Plaintiff Dardashtian; b) misappropriation and conversion of
CSV’s and Plaintiff ChannelReply’s respective business assets and proprietary and confidential
information and trade secrets to form competing companies, Defendant Channel Reply, Inc.
Accel Commerce and Dalva Ventures; c) soliciting CSV’s and Plaintiff ChannelReply’s
respective customers on behalf of competing businesses; d) “locking out” Plaintiff Dardashtian
and terminating his access from multiple computer and electronic accounts necessary and
fundamental to CSV’s and Plaintiff ChannelReply’s business operations, including financial
accounts; e) accessing and disclosing Plaintiff Dardashtian’s personal private financial
information; f) using and infringing upon the exact trade name “ChannelReply” to unfairly

compete against Plaintiff ChannelReply through Defendant Channel Reply, Inc.; g) breaching

their respective fiduciary duties to CSV and Plaintiff ChannelReply; and h) illegally soliciting

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and otherwise interfering with Plaintiff CSV and Plaintiff ChannelReply’s contractual relations
with its developers Bagaiev and Glukharev by providing them with false information about
Plaintiff Dardashtian and offering them financial incentives to breach their agreement and duty
of loyalty to Plaintiffs.

229. Plaintiff CSV and Plaintiff Channel Reply would have entered into business
relations with several customers but for the above Defendants’ interference.

230. The above Defendants acted with wrongful means.

231. Plaintiff CSV and Plaintiff ChannelReply have been injured as a result.

WHEREFORE, Plaintiff demands judgment against Gitman, Falk, Accel Commerce,
Bagaiev, Glukharev, Dalva Ventures and Defendant Channel Reply, Inc., jointly and severally,
all compensatory, punitive, attorney’s fees, and consequential damages as a result of such
unlawful conduct for an amount to be determined at trial but which amount is in excess of

$2,000,000.00.

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COUNT 16
DEFAMATION PER SE

232. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at
length.

233. Defendant Gitman has also defamed Dardashtian by stating several intentional
false statements exposing Dardashtian to public contempt, ridicule, aversion or disgrace thereby
causing Dardashtian damages.

234. On June 1, 2017 and June 2, 2017 Defendant Gitman stated to Bagaiev that
Dardashtian “stole” money.

235. On June 2, 2017 Defendant Gitman stated to Bagaiev that Dardashtian was
operating a “pyramid scheme” via written communication.

236. On June 1, 2017, Defendant Gitman stated to Bagaiev that Dardashtian was a
“parasite” via written communication.

237. Asaresult, Dardashtian has incurred damages in the amount to be proven at trial
but which are in excess of $100,000.00.

238. These statements accuse Dardashtian of a serious crime, and as such, these
statements which were made to Plaintiff ChannelReply’s lead developer, Bagaiev,
unquestionably injure Dardashtian’s business and professional reputation.

WHEREFORE, Plaintiff Dardashtian demands judgment against Gitman, for all
compensatory, punitive, attorney’s fees, and consequential damages as a result of such unlawful

conduct for an amount to be determined at trial but which amount is in excess of $100,000.00.

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COUNT 17
IDENTITY THEFT: NY CLS BUS 380-S AGAINST GITMAN [Dismissed]

239. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at
length.

240. Defendant Gitman has converted, misappropriated and/or stolen Dardashtian’s
business identity by wrongfully and without permission using Dardashtian’s email address,
michael@channelreply.com, while placing Gitman’s own picture and likeness on the Gmail
account so that anyone receiving email communications sees the email
address Michael@channelreply.com and Michael Dash (Dardashtian’s known business name) on
the signatory line but it has Defendant Gitman’s face on the Gmail account, as if he is
Dardashtian.

241. Defendant Gitman also received all emails intended for Dardashtian
from Plaintiff ChannelReply’s customers and business associates.

242. By doing so, Gitman was acting with an intent to defraud by using such electronic
services in the name of Dardashtian without Dardashtian’s consent.

WHEREFORE, Plaintiff Dardashtian demands judgment against Gitman, for all
compensatory, punitive, attorney’s fees, and consequential damages as a result of such unlawful

conduct for an amount to be determined at trial but which amount is in excess of $100,000.00.

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COUNT 18

UNFAIR COMPETITION AS TO ALL DEFENDANTS UNDER NEW YORK
STATE LAW [Dismissed as to Falk and Summit Rock]

243. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at

length.

244. The Defendants, in bad faith, have all misappropriated the expenditures, skill and
labor of Dardashtian, CSV and Plaintiff ChannelReply by among other things, a) the depletion of
the CSV business operating account without the express permission of Plaintiff Dardashtian; b)
misappropriating and converting CSV and Channel Reply’s respective business assets and
proprietary and confidential information and trade secrets to form two competing companies,
Accel Commerce and Channel Reply, Inc.; c) improperly soliciting CSV’s and Plaintiff
ChannelReply’s respective customers on behalf of competing businesses; d) “locking out”
Plaintiff Dardashtian from multiple computer and electronic accounts necessary and fundamental
to CSV’s and Plaintiff Channel Reply’s business operations, including financial accounts; e)
accessing and disclosing Plaintiff Dardashtian’s personal private financial information; f) using
and infringing upon the exact trade name “ChannelReply” to unfairly compete against Plaintiff
ChannelReply through Defendant Channel Reply, Inc.; g) breaching their respective fiduciary
duties to CSV and Plaintiff ChannelReply; and h) illegally soliciting and otherwise interfering
with Plaintiff CSV and Plaintiff ChannelReply’s contractual relations with its developers
Bagaiev and Glukharev by providing them with false information about Plaintiff Dardashtian and
offering them financial incentives to breach their agreement and duty of loyalty to Plaintiffs.

245. As aresult, Plaintiffs have been damaged.

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WHEREFORE, Plaintiffs demand judgment against Defendants for all compensatory,

punitive, attorney’s fees, and consequential damages as a result of such unlawful conduct for an

amount to be determined at trial but which amount is in excess of $2,000,000.00.

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COUNT 19

MISAPPROPRIATION OF TRADE SECRETS UNDER NEW YORK STATE
LAW

246. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at

length.

247. CSV is the owner of the trade secrets and other confidential and proprietary
information relating to its and Plaintiff ChannelReply’s computer software and code used in the
industry of e-commerce, such trade secrets include customer lists and addresses, vendor lists and
addresses, computer software programs; computer pass codes, other codes and other intellectual
property. These trade secrets are CSV’s and Plaintiff ChannelReply’s electronic services that are
used in or intended for use in interstate or foreign commerce. CSV and Plaintiff ChannelReply
sell its software solutions throughout the United States and worldwide.

248. Defendant Gitman, with the assistance and participation of all other Defendants,
is using and otherwise misappropriating those trade secrets in violation of the CSV operating
agreement and in breach of his fiduciary duty to CSV and Dardashtian to unfairly compete
against CSV and Plaintiff ChannelReply.

249. Such trade secrets are vital to CSV and Plaintiff ChannelReply’s business and
provides Defendants with an unfair competitive advantage which they would otherwise not have
enjoyed.

250. As aresult, Plaintiffs have been damaged.

WHEREFORE, Plaintiffs demands judgment against Defendants for all compensatory,
punitive, consequential damages and attorney’s fees as a result of such unlawful conduct for an

amount to be determined at trial but which amount is in excess of $2,000,000.00.

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COUNT 20
DECLARATORY JUDGMENT PURSUANT TO NY CPLR 3001 COMPELLING THE
REDEMPTION OF DEFENDANT GITMAN’S MEMBERSHP INTERESTS IN
PLAINTIFF COMPANIES PURSUANT TO SECTION 11.5 OF THE CSV OPERATING
AGREEMENT

251. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at
length.

252. Article 11.5 of the CSV Operating Agreement provides that in the Management’s
sole discretion, a member’s membership interest may be redeemed in circumstances including
(a) a member’s willful or serious misconduct with respect to the business operations or assets of
CSV, (b) fraud or dishonesty, whether or not with respect to the business or affairs of CSV, (c)
an attempt by the member to withdraw from CSV, (d) an attempt by the member to partition the
property of CSV, (e) a breach by the member of any employment agreement between the
member and CSV, and (f) any event resulting in a separation of the member from service to CSV
as an employee, contractor or agent.

253. As alleged herein, Defendant Gitman, while co-manager of CSV, and in violation
of Defendant Gitman’s fiduciary duties to both the Plaintiff Companies and Plaintiff
Dardashtian, (a) engaged in oppressive, willful and/or serious misconduct concerning the
business operations or assets of the Plaintiff Companies, (b) breached the terms, conditions and
obligations contained in the CSV Operating Agreement, (c) misappropraited the assets of CSV
and transferred them to his competing company, Channel Reply, Inc., (d)partitioned the property
of CSV to a competing company owned and controlled by him, (e) engaged in fraud and
dishonesty, including, but not being limited to, (i) the conversion of the Plaintiff Companies’

proprietary information and trade name, (ii) usurping the Plaintiff Companies’ business accounts

to Dardashtian’s exclusion, , (iii) forming Channel Reply Inc. in direct competition with the

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Plaintiff Companies and (iv) by misappropriating the Plaintiff Companies’ intellectual property,
confidential information, trade secrets and assets, (f) directly soliciting the Plaintiff Companies’
developers to terminate their business relationship with the Plaintiff Companies and inducing
those developers to become an owner of and/or otherwise affiliated with Channel Reply, Inc. in
direct competition with the Plaintiff Companies, and and (g) as discovery may further reveal.

254. All of Defendant Gitman’s intentional, willful and oppressive actions resulted in
frustrated the purpose of the Plaintiff Companies’ operations, and resulted in Defendant
Gitman’s Court-ordered preliminary removal and separated him from the Plaintiff Companies
contrary to Article 11.5(b)(x) of the CSV Operating Agreement.

255. All of Defendant Gitman’s willful conduct is a further violation of the CSV
Operating Agreement thereby entitling CSV’s management to exercise its right to redeem all of
Defendant Gitman’s right, title and ownership interests in CSV, ChannelReply and NDAP, LLC.

256. Pursuant to Article 11.5(d) of the CSV Operating Agreement, the purchase price
for the redemption of Defendant Gitman’s interest in CSV, NDAP, LLC and ChannelReply shall
be an amount equal to “(i) the amount that the Redeemed Member would have received had the
Company (A) terminated on the date the Redemption Notice was given; (B) sold all of its assets
at their fair market values on the date the Redemption Notice was given, (C) satisfied all of its
debts and obligations and (D) made distributions to the Members in accordance with Section
16.2 less (ii) any distributions made to the Redeemed Member after the date the Redemption
Notice is given to the Redemption Closing Date.

257. After Dardashtian was appointed co-manager of CSV by the Court along with
Joel Liebman, C.P.A., the Plaintiff Companies’ accountant, and as a result of Gitman’s a) willful

and serious misconduct, b) violations of the CSV Operating Agreement c) partitioning of

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company property d) misappropriation of the Plaintiff Companies’ assets to another competing
company formed by Defendant Gltman e) Defendant Gitman’s fraud and dishonesty while a
member of the Plaintiff Companiesand f) Defendant Gitman’s Court-ordered removal as a
manager to the Plaintiff Companies, the current co-managers of the Plaintiff Companies,
Dardashtian and Joel Liebman, have determined to exercise CSV’s right to redeem all of
Defendant Gitman’s right, title and membership interests in the Plaintiff's Companies, including
CSV, NDAP, LLC and ChannelReply pursuant to Section 11.5 of the CSV Operating
Agreement.

258. Any attempt by Plaintiff Dardashtian, as co-manager of CSV before he was
appointed by the Court as co-manager with Joel Liebman, C.P.A., to effectuate a redemption of
all of Defendant Gitman’s membership interests in CSV, NDAP, LLC and ChannelReply was
futile considering Gitman refused to have his shares redeemed by CSV on any terms ; b)
Gitman’s oppressive conduct while co-manager displayed his unwillingness to act in an equitable
and fair manner as to any potential redemption and c) despite several months of good faith
negotiations by Plaintiff Dardashtian to reach an equitable redemption of Gitman’s membership
interest in CSV, NDAP, LLC and ChannelReply, Gitman refused to finalize the redemption.

259. After Plaintiff Dardashtian was appointed as co-manager of CSV by the Court,
Defendant Gitman represented that he would agree to a sale of his interests in the Plaintiff
Companies.

260.This representation persisted through December 21, 2018, rendering the issuance of a
redemption notice futile, in addition to the reasons set forth herein. As a result of Defendant
Gitman’s representations, Plaintiff Companies’ expended significant time and money to engage

in good faith negotiations with Defendant Gitman to effectuate an equitable redemption.

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Defendant Gitman’s bad faith was exhibited when he engaged the cPlaintiffs for months in
negotiations, including authorizing his attorneys to work on a final agreement only to refuse to
sign said agreement on the day the parties met to execute it.

261.Therefore, any efforts by Plaintiff Companies to serve a Redemption Notice on
Defendant Gitman sooner would have also been futile in addition to the reasons set forth herein.
In accordance with Article 11.5 of the CSV Operating Agreement, management has discretion
over when to issue a Redemption Notice.

262. Plaintiff Companies, through CSV, are entitled to redeem all of Defendant Gitman’s
interests in the Plaintiff Companies, CSV, NDAP, LLC and ChannelReply, in accordance with
the terms set forth in Article 11.5 of the CSV Operating Agreement.

263. Itis well recognized that LLCs are “creatures of contract,” and Plaintiff Companies
therefore respectfully request the Court grant the maximum effect to the principle of the freedom
of contract and the enforceability of the terms of Article 11.5 of the CSV Operating Agreeement.

WHEREFORE, Plaintiffs seek a declaratory judgment pursuant to NY CPLR 3001 and
the CSV Operating Agreement that a) Plaintiff CSV has the right to redeem all of Defendant
Gitman’s membership interests in the Plaintiff Companies CSV, NDAP, LLC and
ChannelReply; and b) ordering that the redemption of all of Defendant Gitman’s right, title and
membership interests in the Plaintiff Companies CSV, NDAP, LLC and ChannelReply be
redeemed in accordance with the terms set forth in Article 11.5 of the CSV Operating
Agreement, along with an award of all attorney’s fees and costs to prosecute the within action in
accordance with the terms set forth in the CSV Operating Agreement, including but not limited

to Article 17.10.

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COUNT 21
JUDICIAL DISSOLUTION OF CSV AND ITS WHOLLY OWNED COMPANIES
PURSUANT TO NY CLS LLC §702 AND SECTIONS 4.2 AND 16 OF THE CSV
OPERATING AGREEMENT, AND ORDERING PLAINTIFF DARDASHTIAN AND/OR
PLAINTIFF CSV TO BE PERMITTED TO EQUITABLY BUY-OUT ALL OF
DEFENDANT GITMAN’S RIGHT, TITLE AND MEMBERSHIP INTERESTS IN THE
PLAINTIFF COMPANIES CSV, NDAP, LLC AND CHANNELREPLY

264. Plaintiffs repeat and reallege all facts set forth above herein as if set forth at
length.

265. NY CLS LLC §702 provides:

On application by or for a member, the supreme court in the judicial district in
which the office of the limited liability company is located may decree dissolution
of a limited liability company whenever it is not reasonably practicable to carry
on the business in conformity with the .... operating agreement.

266. Additionally, Article 4 of the CSV Operating Agreement provides that CSV shall
be dissolved upon the “entry of a judicial decree of dissolution of the Company in accordance
with the Act [ as defined in Article I to mean the “Limited Liability Company Act from time to
time in force in the State.]”

267. As aresult of Defendant Gitman’s actions as alleged throughout this First
Amended Verified Complaint, including,but not limited to (a) Defendant Gitman’s
misappropriation of the Plaintiff Companies’ funds; (b) Defendant Gitman’s unauthorized
removal of Plaintiff Dardashtian’s access to the Plaintiff Companies’ electronic accounts; (c)
Defendant Gitman’s unauthorized formation of Channel Reply, Inc., a direct competitor of
Plaintiff ChannelReply, (d) Defendant Gitman’s misappropriation and diversion of CSV’s and
ChannelReply’s intellectual property, trade name, trade secrets, confidential information and

other assets to-Channel Reply, Inc.; (e) Defendant Gitman’s willful and malicious actions to

induce Plaintiff Companies’ developers to resign from the Plaintiff Companies, including

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ChannelReply, and to join as an owner, employee and/or independent contract of Channel Reply,
Inc., to the Plaintiff Companies’ detriment; (f) Defendant Gitman’s unlawful disclosure of the
Plaintiff Companies’ proprietary and confidential information to third parties, without the
express written consent of the Plaintiffs, and (g) Defendant’s continued defamatory actions
toward Dardashtian and continued insistence in pleadings that he intends to convert and
misappropriate Plaintiff Companies’ property if permitted for the purposes of competing with the
Plaintiff Companies, all of which frustrated and impeded the Plaintiff Companies from carrying
out their intended purposes, and resulted in this Court’s preliminary removal of Defendant
Gitman as a co-manager of the Plaintiff Companies as well as Defendant Gitman’s misconduct
that followed, misconduct subsequent to his being removed as a manager, it is not reasonably
practicable to carry on the business operations of Plaintiff Companies with Defendant Gitman as
a managing member or member, and in conformity with the CSV Operating Agreement.

268. As alleged herein, Defendant Gitman has intentionally inflicted upon Plaintiff
Dardashtian and the Plaintiff Companies unreasonable, bad faith, and oppressive conduct, and
engaged in financial defalcation as detailed herein, all of which is prohibited by NY CLS LLC
§702, and also prohibited by the terms of the CSV Operating Agreement, including, but not
limited to, Defendant Gitman’s violation of Article 11.5(b), Article 12.2 and other provisions of
the CSV Operating Agreement based upon Gitman’s conduct set forth herein.

269. On or about June 21, 2017, this Honorable Court preliminary removed Defendant
Gitman as a co-manager of Plaintiff Companies and appointed Dardashtian as co-manager with
Joel Liebman, C.P.A. of Liebman Goldberg & Hymowitz LLP .

270. Since Defendant Gitman’s removal as co- manager of the Plaintiff Companies,

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and Plaintiff Dardashtian’s appointment as co-manager with Joel Liebman, C.P.A., Dardashtian
has operated the Plaintiff Companies, including CSV, NDAP, LLC and ChannelReply in a good
faith, stable, financially profitable and lawful manner and has grown its customer base,
partnerships, reputation and revenues during this period of time. CSV and ChannelReply are not
financially failing, are serving a large national and international customer base reliant on its
services for their business operations, and are employing many people. Therefore, dissolution or
liquidation would not be an equitable or appropriate remedy in the event this Honorable Court
explores remedies outside of the CSV Operating Agremeent

271. To the contrary, CSV and ChannelReply have financially grown since June 19,
2017 when Defendant Gitman was preliminary removed as a co-manager.

272. Plaintiff Dardashtian’s actions in protecting the Plaintiff Companies from
Defendant Gitman’s malfeasance, has resulted the growth of the Plaintiff Companeis.

Plaintiff Dardashtian initiated this action on behalf of Plaintiff Companies in order to protect the
Plaintiff Companies from Defendant Gitman’s malfeasance. Since then, as a result of Plaintiff
Dardashtian’s efforts, the Plaintiff Companies’ developers and other employees have returned to
the Plaintiff Companies, new ones have been added, and partnerships, product features,
integrations, customers and revenue have grown.

273. Thus, the fairest and most equitable approach in the event that the Court should
decide to order the judicial dissolution of CSV, which owns NDAPand ChannelReply would be
to order that Plaintiff Dardashtian and/or CSV be permitted to equitably buy out all of Defendant
Gitman’s rights, title and membership interests in the Plaintiff Companies, CSV, NDAPand
ChannelReply, in order to avoid the drastic remedy of dissolutionon the Plaintiff Companies,

their existing employees, and their large national and international customer base which relies on

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the Plaintiff Companies’ unique, proprietary products including software as a service or SaaS
products.

274, Alternatively, in the event that the Court should decide to permit the CSV
Operating Agreement to govern above common law’s equitable principles, Plainitff CSV should
be permitted to redeem all of Defendant Gitman’s right, title and membership interests in the
Plaintiff Companies, CSV, NDAP and ChannelReply in accordance with Article 11.5 of the
CSV Operating Agreement and applicable law.

275. Therefore, pursuant to a) New York common law, including Matter of Kassab v.
Kasab, 137 AD 3d 1138 (2d Dep’t 2006) and Mizrahi v. Cohen, 104 AD 3d 917, 920 (2d Dep’t
2013), Tal v Superior Vending, LLC, 20 Misc 3d 1103 [A] [Sup Ct NY County June 6, 2008],
and Matter of Kemp & Beatley, Inc., 64 NY2d 63 [1984], upon the judicial dissolution of CSV,
and b) as contemplated in Article 11.5 of the CSV Operating Agreement, the Court must order
the fairest and most equitable remedy short of or other than dissolution, namely that either
Plaintiff Dardashtian and/or CSV be permitted to buy-out all of Defendant Gitman’s membership
rights, title and interests in Plaintiffs CSV, NDAP and ChannelReply, or that Plaintiff CSV be
permitted to redeem all of Defendant Gitman’s right, title and membership interests in Plaintiffs
CSV, NDAP and ChannelReply, for an amount that this Court finds equitable in accordance with

applicable law and/or the value definition in Article 11.5 of the CSV Operating Agreement.

276. Plaintiffs hereby request that this Court enforce Article 11.5 of the CSV
Operating Agreement, signed by both Plaintiff Dardashtian and Defendant Gitman, and which

has governed the Plaintiff Companies’ business operations since inception.

WHEREFORE Plaintiffs’ demand a) that Plaintiff CSV be dissolved pursuant to NY CLS

LLC §702 and the CSV Operating Agreement, and b) that the Court order that Plaintiff

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Dardashtian and/or CSV be permitted to buy-out all of Defendant Gitman’s right, title and
membership interests in Plaintiffs CSV, NDAP and ChannelReply, or c) that Plaintiff CSV be
permitted to redeem all of Defendant Gitman’s right, title and membership interests in Plaintiffs
CSV, NDAP and ChannelReply, for an amount that this Court finds equitable in accordance
with applicable law and/or Article 11.5 of the CSV Operating Agreement. Plaintiffs further
demand an award of all attorney’s fees and costs to prosecute the within action against
Defendant Gitman pursuant to the CSV Operating Agreement, including but not limited to
Article 17.10.

JURY DEMAND

Plaintiffs request a trial by jury on all issues so triable.

GU i | RD ELITI, LLP
ah ey

BARRWS. GUAGLARDI, ESQ.
BSG240
Attorney for Plaintiff

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111 Main Street

PO Box 509
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Dated: April 30, 2020

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VERIFICATION
I, Michael Dardashtian, individually and on behalf of Plaintiffs, of which [ am an equal
member and co-manager thereof, having been duly sworn and upon my oath, verifies under the
penalties of perjury that I have read the allegations of this First Amended Verified Complaint.
All of the factual allegations are true and correct to the best of my knowledge, except for any
allegation claimed to be upon information and belief.

MichS¢! Dardashtiah;thdividually and on behalf of
PMintiffs Cooper Square Ventures, LLC,

ChannelReply and NDAP, LLC

 

Signed and ise
before me this

’ ; April, 2020
ne

ANAT H. GORDON
Notary Public State of New York
No. 01G06024591
Qualified in Nassau County 2
Commission Expires May 10, 402:

 
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CERTIFICATE OF SERVICE

The undersigned hereby certifies that on April 30, 2020, the foregoing was electronically
filed with the Court’s CM/ECF Filing System, which will send a Notice of Electronic Filing to

all parties of record who are registered with C F

By:

 

Evan Ostrer (EO1099)
